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  1                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
  2                               MARSHALL DIVISION

  3    INFERNAL TECHNOLOGY, LLC.,     (        CAUSE NO. 2:19-CV-248-JRG
       and TERMINAL REALITY, INC.,    )
  4              Plaintiffs,          (
                                      )
  5    vs.                            (
                                      )
  6    SONY INTERACTIVE ENTERTAINMENT,(
       LLC.,                          )        OCTOBER 7, 2021
  7                                   (        MARSHALL, TEXAS
                 Defendants,          )        9:00 A.M.
  8
       ______________________________________________________________
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 11                                    VOLUME 4

 12

 13    ______________________________________________________________

 14                              TRIAL ON THE MERITS

 15                 BEFORE THE HONORABLE RODNEY GILSTRAP
                     UNITED STATES CHIEF DISTRICT JUDGE
 16                              and a jury
       ______________________________________________________________
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 21
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  1
                               A P P E A R A N C E S
  2
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                                             BY: MR. CHRISTOPHER JOE
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                                                  MR. KENNETH KULA
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  1                THE COURT:    Be seated, please.

  2          After the jury was excused yesterday late afternoon or

  3    early evening, the Court took up, considered, and ruled on

  4    motions offered pursuant to Rule 50(a) of the Federal Rules of

  5    Civil Procedure as urged by both sides.

  6          Subsequent to addressing motions under Rule 50(a), the

  7    Court then held yesterday evening an informal charge

  8    conference in chambers where the Court reviewed with counsel

  9    openly and in a fulsome manner the then existing, most current

 10    submission from the parties regarding the final jury

 11    instructions and verdict form.

 12          The Court received material input from counsel regarding

 13    the charge and the verdict form.        The Court engaged in

 14    questions and answers and discussions with counsel, and the

 15    informal charge conference was free-flowing and materially

 16    helpful.    The Court took those comments and inputs into

 17    consideration and overnight generated what the Court believes

 18    to be the appropriate and proper final jury instruction and

 19    verdict form for use in this case.

 20          This morning printed copies of those documents were

 21    generated and delivered to counsel for the parties who have

 22    since had ample opportunity to review and consider the same,

 23    and the Court is now prepared to conduct a formal charge

 24    conference on the record to review the final jury instructions

 25    and verdict form and entertain any objections on the record

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  1    that either Plaintiffs or Defendant care to offer.

  2          With that, counsel, I'm going to ask a single

  3    spokesperson for Plaintiffs and a single spokesperson for

  4    Defendant to go to the podium, and we'll begin with the final

  5    jury instructions.

  6          My practice is to review these on a page-by-page basis,

  7    and at any point as we go through the documents page-by-page

  8    that you believe something should be objected to, then you'll

  9    have an opportunity to make those objections, both as to

 10    whatever is included and to anything that you believe has been

 11    excluded that should have been included.

 12          And we'll do that, as I say, on a page-by-page basis so

 13    that we ensure nothing is overlooked or unintentionally

 14    skipped.    Then we'll proceed to do the same thing in the same

 15    approach with the verdict form.

 16          So with that, who's going -- I assume you're going to

 17    speak for Plaintiff, Mr. Joe?       If you'll go to the podium.

 18          Mr. Lang, are you going to represent defendant?

 19                MR. LANG:    Correct, Your Honor.

 20                THE COURT:    All right.    Why don't you two gentlemen

 21    go to the podium.      And we'll turn to the final jury

 22    instructions first, beginning with the front page or first

 23    page, and I'll ask if either Plaintiff or Defendant has any

 24    objections to anything on this first page of the final jury

 25    instructions.

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  1                MR. JOE:    No objection from Plaintiff, Your Honor.

  2                THE COURT:    And from Defendant?

  3                MR. LANG:    None, Your Honor.

  4                THE COURT:    All right.    Turning then to page 2 of

  5    the final jury instructions, is there objection here from

  6    either Plaintiffs or Defendant?

  7                MR. JOE:    No objection from Plaintiff.

  8                MR. LANG:    No objection from Defendant.

  9                THE COURT:    Next is page 3.       Is there any objection

 10    here?

 11                MR. JOE:    No objection from Plaintiff.

 12                MR. LANG:    None from Defendant.

 13                THE COURT:    Next is page 4.       Is there any objection

 14    here?

 15                MR. JOE:    No objection from Plaintiff.

 16                MR. LANG:    No objection from Defendant.

 17                THE COURT:    Turning then to page 5 of the final jury

 18    instructions, is there objection here from either party?

 19                MR. JOE:    Plaintiff has no objection.

 20                MR. LANG:    No objection from Defendant.

 21                THE COURT:    Next is page 6.       Is there any objection?

 22                MR. JOE:    No objection from Plaintiff.

 23                MR. LANG:    No objection from Defendant.

 24                THE COURT:    Next is page 7.       Is there any objection?

 25                MR. JOE:    No objection from Plaintiff.

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  1                 MR. LANG:    None from Defendant.

  2                 THE COURT:   Next is page 8.       Is there any objection?

  3                 MR. JOE:    No objection from Plaintiff.

  4                 MR. LANG:    No objection from Defendant.

  5                 THE COURT:   Turning then to page 9 of the final jury

  6    instructions, is there objection here from either party?

  7                 MR. JOE:    Your Honor, Plaintiffs object to the

  8    instructions regarding patent ineligibility for the reasons

  9    stated yesterday by Mr. Buether in that the -- it's not

 10    supported by the evidence.

 11                 THE COURT:   All right.    That objection is overruled.

 12            Is there any other objection from either party as to

 13    anything on page 9?

 14                 MR. JOE:    No other objections, Your Honor.

 15                 MR. LANG:    No objection from Defendant.

 16                 THE COURT:   Turning then to page 10, is there

 17    objection here from either party?

 18                 MR. JOE:    No objection from Plaintiff.

 19                 MR. LANG:    No objection from Defendant.

 20                 THE COURT:   Next is page 11.      Is there any objection

 21    here?

 22                 MR. JOE:    No objection from Plaintiff.

 23                 MR. LANG:    No objection from Defendant.

 24                 THE COURT:   Next is page 12.      Is there objection

 25    here from either party?

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  1                MR. JOE:    No objection from Plaintiff.

  2                MR. LANG:    No objection from Defendant.

  3                THE COURT:    Next then is page 13.      Is there any

  4    objection here?

  5                MR. JOE:    Your Honor, Plaintiff would object to

  6    the -- again to the instruction on patent ineligibility as not

  7    supported by the evidence.

  8                THE COURT:    All right.    That objection is overruled.

  9          Is there any further objection from either party to

 10    anything included upon or omitted from page 13?

 11                MR. JOE:    No.   No further objections.

 12                MR. LANG:    Your Honor, Defendant objects to the

 13    final sentence of the first, I guess, partial paragraph on

 14    page 13 reading -- starting, an accused product infringes

 15    an apparatus claim if it's reasonably capable of satisfying

 16    the claim element.

 17                THE COURT:    All right.    Anything further on page 13

 18    from either Plaintiffs or Defendant?

 19                MR. JOE:    No, Your Honor.

 20                MR. LANG:    None from Defendant, Your Honor.

 21                THE COURT:    Okay.   Defendant's objection on page 13

 22    is overruled.

 23          We'll turn then to page 14.       Is there any objection here

 24    from either party?

 25                MR. JOE:    Two objections, Your Honor.       First, the

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  1    same one I asserted earlier with respect to the eligibility in

  2    that there's no evidence to support the instruction.

  3            And, secondly, Your Honor, last night I did have the

  4    opportunity to go back through Mr. Randel's trial testimony,

  5    and he did provide some testimony that indicated that he came

  6    up with the invention in 1997.       I have a copy if Your Honor

  7    would look at it.

  8            And so to finish the thought, Your Honor, so we would

  9    object to the date March 1999 as not supported by the record

 10    and improper in light of that evidence, in light of that

 11    testimony.

 12                 THE COURT:   And you believe the proper date would be

 13    what?

 14                 MR. JOE:    May 8, 1997.

 15                 THE COURT:   That objection is overruled.        Anything

 16    else from either party on page 14?

 17                 MR. JOE:    No other objections, Your Honor.

 18                 MR. LANG:    No objections from Defendant, Your Honor.

 19                 THE COURT:   Turning then to page 15, is there

 20    objection here from either party?

 21                 MR. JOE:    No objections from Plaintiff.

 22                 MR. LANG:    None from Defendant.

 23                 THE COURT:   Turning then to page 16, which is the

 24    final page of the charge to the jury or final jury

 25    instructions, is there objection here from either party?

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  1                MR. JOE:    No objection from Plaintiff.

  2                MR. LANG:    No objection from Defendant, Your Honor.

  3                THE COURT:    All right.    Turning next to the verdict

  4    form, we'll follow the same approach here, counsel.            Beginning

  5    with the first page or the front page of the verdict form, is

  6    there objection here from either party?

  7                MR. JOE:    No objection from Plaintiff.

  8                MR. LANG:    No objection from Defendant.

  9                THE COURT:    Turning then to page 2 of the verdict

 10    form where various definitions are set forth, is there

 11    objection here from either party?

 12                MR. JOE:    No objection from Plaintiff.

 13                MR. LANG:    No objection from Defendant.

 14                THE COURT:    Next is page 3 of the verdict form where

 15    instructions are given.       Is there objection to anything on

 16    page 3 of the verdict form from either Plaintiff or Defendant?

 17                MR. JOE:    No objection from Plaintiff.

 18                MR. LANG:    No objection from Defendant.

 19                THE COURT:    Next is page 4 of the verdict form

 20    wherein Question 1 regarding infringement is found.            Is there

 21    objection here from either party?

 22                MR. JOE:    No objection from Plaintiff.

 23                MR. LANG:    No objection from Defendant.

 24                THE COURT:    All right.    Next is page 5 of the

 25    verdict form wherein Question 2 regarding patent eligibility

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   1    is located.

   2                MR. JOE:    Just the same objection, Your Honor.

   3    Question No. 2 relates to patent eligibility or ineligibility.

   4    Plaintiffs object because they believe the evidence does not

   5    support the question.

   6          Secondly, this is more of a grammatical issue.           I know

   7    the parties submitted it this way, but I think the only should

   8    probably modify technologies and activities, so it should read

   9    involve only technologies and activities and as opposed to

 10     only involve.

 11                 THE COURT:    All right.   Well, with regard to your

 12     first objection, Mr. Joe, that's overruled.

 13           With regard to your second objection, as I appreciate it,

 14     you're suggesting that with regard to the question itself, the

 15     second line of the question as printed should read, involve

 16     only technologies rather than only involve technologies as

 17     it's stated now.

 18           Is that your objection?

 19                 MR. JOE:    Yes, Your Honor, that the only appears to

 20     now modify the verb involve as opposed to modifying the

 21     subject technologies and activities.

 22                 THE COURT:    All right.   While I consider that, let

 23     me inquire if Defendant has any objection to anything on page

 24     5 regarding Question 2 of the verdict form.

 25                 MR. LANG:    Defendant does not have any objections,

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   1    Your Honor.

   2                 THE COURT:   I'm going to accept your suggestion, Mr.

   3    Joe, on Question 2 with regard to the order of the language,

   4    and I will change that from asserted claims only involve to

   5    asserted claims involve only.

   6                 MR. JOE:    Thank you, Your Honor.

   7                 THE COURT:   Otherwise, your objections are

   8    overruled.

   9          Turning, then, to page 6, which is the final page of the

 10     verdict form, is there objection here from either party?

 11                  MR. JOE:    No objection from Plaintiff.

 12                  MR. LANG:    No objection from Defendant.

 13                  THE COURT:   All right.   Thank you, counsel.       That

 14     will complete the formal charge conference.          I'll now recess.

 15           During the recess, I'll prepare eight printed copies of

 16     the final jury instructions to deliver to the jury, together

 17     with one clean copy of the verdict form after I've given them

 18     my final instructions orally and we've all heard closing

 19     arguments for counsel for the parties and at the time I

 20     instruct the jury to retire and deliberate upon its verdict.

 21           The Court stands in recess.

 22                                 (Brief recess.)

 23                  THE COURT:   Be seated, please.

 24           Counsel, are the parties prepared to read into the record

 25     those items from the list of pre-admitted exhibits used during

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   1    yesterday's portion of the trial?

   2                MR. BUETHER:    Yes.   I don't believe the Plaintiff

   3    had any, but we're ready.

   4                THE COURT:    Well, if that's your announcement, I'll

   5    accept that, Mr. Buether.

   6          Do Defendants have any items from the list of

   7    pre-admitted exhibits to read into the record from yesterday's

   8    portion of the trial?

   9                MR. LANG:    Working on it, Your Honor.

 10                 THE COURT:    All right.

 11                 MR. LANG:    Sorry.

 12                 THE COURT:    Go ahead, Mr. Lang.

 13                 MR. LANG:    Thank you, Your Honor.      Yesterday

 14     Defendants introduced DX 4, DX 63, DX 169, and DX 272.

 15                 THE COURT:    Any objection to that rendition from the

 16     Plaintiffs?

 17                 MR. BUETHER:    No objection.

 18                 THE COURT:    All right.   Thank you, counsel.

 19           Before I bring the jury in, let me remind our visitors in

 20     the gallery that, in the Court's view, its final instructions

 21     to the jury and counsels' closing arguments are the most

 22     serious part of a very serious process.                    Therefore, I

 23     don't want any disruptions, I don't want people coming and

 24     going from the courtroom, I don't want people shifting around

 25     or shuffling papers.      I want you to be as still and as focused

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   1    and as respectful as possible.       If anyone is present who needs

   2    to leave the courtroom, do it now before I bring the jury in.

   3          Mr. Buether, with regard to Plaintiffs' closing argument,

   4    do you have a request with regard to how to divide your time

   5    and what warnings on your time you may wish to have?

   6                MR. BUETHER:    Yes.   That's 33/7 would be the split,

   7    and a 5 and 8 warning.

   8                THE COURT:    Five and eight?

   9                MR. BUETHER:    Yes.

 10                 THE COURT:    All right.   You mean by that eight

 11     minutes until the end of the first 33, and then five minutes

 12     from the end of the first 33 minutes for your first closing

 13     argument?

 14                 MR. BUETHER:    If I can get two notices, that would

 15     be real nice.     Yes, Your Honor.

 16                 THE COURT:    All right.   And with regard to your

 17     second closing, assuming you use exactly 33 minutes and

 18     there's seven minutes left, what would you like there?

 19                 MR. BUETHER:    Two minutes on whatever is left.

 20                 THE COURT:    Two minutes on whatever's left.        All

 21     right.

 22           Mr. Buresh, do you have a similar request of any kind?

 23                 MR. BURESH:    No, Your Honor.

 24                 THE COURT:    You don't want me to tell you when you

 25     have two minutes or one minute or --

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   1                MR. BURESH:    I'm going to have my own clock running.

   2                THE COURT:    That's fine.    That's fine.

   3          All right.    Is either party aware of anything else the

   4    Court should consider or take up before I bring in the jury

   5    and proceed with final jury instructions?

   6                MR. BUETHER:    No, Your Honor.

   7                THE COURT:    Anything from Defendant?

   8                MR. BURESH:    No, Your Honor.

   9                THE COURT:    All right.   Let's bring in the jury,

 10     please, Mr. Fitzpatrick.

 11                 THE COURT SECURITY OFFICER:        Yes, sir.

 12                 (Whereupon, the jury entered the courtroom.)

 13                 THE COURT:    Good morning, ladies and gentlemen.

 14     Please be seated.

 15           Ladies and gentlemen of the Jury:

 16           You've now heard all the evidence in this case, and I

 17     will now instruct you on the law that you must apply.

 18           Each of you, as I told you yesterday, are going to have

 19     your own printed copy of these final jury instructions that

 20     I'm about to give you orally.       Therefore, there's no pressing

 21     need for you to take notes unless you particularly want to.

 22           It's your duty to follow the law as I give it to you.              On

 23     the other hand, and as I've said, you the jury, are the sole

 24     judges of the facts in this case.        You should not consider any

 25     statement that I have made over the course of the trial or may

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   1    make as a part of the instructions that I'm now giving you as

   2    an indication that the Court has any opinion about what the

   3    facts are in this case.

   4          You are about to hear closing arguments from the

   5    attorneys for the competing parties.           Statements and arguments

   6    of the attorneys are not evidence, and they are not

   7    instructions on the law.      They are intended only to assist the

   8    jury in understanding the evidence and the parties' competing

   9    contentions.

 10           A verdict form has been prepared for you.           And you will

 11     take this verdict form to the jury room when you retire to

 12     deliberate.      And when you have reached a unanimous agreement

 13     as to the questions in the verdict form, you will have your

 14     foreperson fill in those unanimous answers in the blanks

 15     provided in the verdict form.       Then your foreperson will sign

 16     the verdict form, date it, and then notify the Court security

 17     officer that you've reached a verdict.

 18           You should answer the questions in the verdict form from

 19     the facts as you find them to be.       You should not, ladies and

 20     gentlemen, decide who you think should win this case and then

 21     answer the questions to reach that result.           Your answers and

 22     your verdict, I'll remind you, must be unanimous.

 23           Now, in deciding whether any facts have been proven in

 24     this case, you may, unless otherwise instructed, consider the

 25     testimony of all the witnesses, regardless of who may have

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   1    called them, and you may consider all the exhibits received

   2    and admitted into evidence over the course of the trial,

   3    regardless of who may have introduced that exhibit or those

   4    exhibits.

   5          You, the jury, are the sole judges of the credibility of

   6    all the witnesses and the weight and effect to give to all the

   7    evidence.    In deciding the facts in this case, you may have to

   8    decide which testimony to believe and which testimony not to

   9    believe.    You alone are to determine the questions of

 10     credibility or truthfulness of the witnesses.

 11           In weighing the testimony of the witnesses, you may

 12     consider the witness' manner and demeanor on the witness

 13     stand, any feelings or interest they may have in the case, any

 14     prejudice or bias about the case that the witness may have,

 15     and the consistency or inconsistency of their testimony,

 16     considered in the light of the circumstances.           Has the witness

 17     been contradicted by other evidence?           Has he or she made

 18     statements at other times and places contrary to what he or

 19     she said on the witness stand?       You must give the testimony of

 20     each witness the amount of credibility that you think it

 21     deserves.

 22           You must also keep in mind, ladies and gentlemen, that a

 23     simple mistake does not mean the witness is not telling the

 24     truth.   You must consider whether any misstatement was an

 25     intentional falsehood or a simple lapse in memory and what

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   1    significance should be attached to that testimony.

   2          As I've told you previously, the attorneys in this case

   3    are advocates for the competing parties, and they have a duty

   4    to object when they believe evidence is offered that should

   5    not be admitted under the rules of the Court.

   6          When the Court sustained an objection to a question

   7    addressed to a witness, you must disregard that question

   8    entirely, and you may draw no inference from its wording or

   9    speculate about what the witness would have said if he or she

 10     had been permitted by the Court to answer the question.             If,

 11     on the other hand, the objection was overruled by the Court,

 12     then you may treat the question and the answer just as if it

 13     was any other question and answer and as if no objection had

 14     been made.

 15           Now, by allowing the testimony or other evidence to be

 16     introduced over the objection of an attorney, the Court did

 17     not indicate any opinion as to the weight or effect of that

 18     evidence.

 19           Now, at times during the trial, it was necessary for the

 20     Court to talk with the lawyers outside of your hearing either

 21     by calling a recess and talking to them while you were outside

 22     of the courtroom, or by calling them to the bench and talking

 23     to them outside of your hearing.       This happens because during

 24     trials things arise which do not directly involve the jury.

 25     You should not speculate about what was said during such

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   1    discussions that took place outside of your presence.

   2            Now, there are two types of evidence that you may

   3    consider in properly finding the truth as to the facts in this

   4    case.    One is direct evidence, such as the testimony of an

   5    eyewitness.      The other is indirect or circumstantial evidence,

   6    that is, the proof of a chain of circumstances that indicates

   7    the existence or non-existence of certain other facts.             As a

   8    general rule, ladies and gentlemen, the law makes no

   9    distinction between direct evidence or circumstantial

 10     evidence, but simply requires that you, the jury, find the

 11     facts based on the evidence presented, both direct and

 12     circumstantial.

 13             Now, the parties in this case have stipulated or agreed

 14     to some certain facts in this case.        And when the lawyers on

 15     both sides stipulate as to the existence of a fact, you must,

 16     unless otherwise instructed, accept that stipulation as

 17     evidence and regard that fact as proven.

 18             These facts are not disputed between the parties and they

 19     have stipulated as follows:

 20             1.   Plaintiff Terminal Reality, Inc., is a Texas

 21     corporation, having its principal place of business in Flower

 22     Mound, Texas.

 23             Plaintiff Infernal Technology, LLC, is a Texas limited

 24     liability company, having its principal place of business in

 25     Dallas, Texas.

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   1          Defendant Sony Interactive Entertainment, LLC, is a

   2    limited liability company organized under the laws of the

   3    state of California, having its principal place of business in

   4    San Mateo, California.

   5          Terminal Reality is the owner of United States Patent No.

   6    6,362,822, which you heard referred to throughout trial as the

   7    '822 Patent.     And Terminal Reality is the owner of United

   8    States Patent No. 7,061,488, which you've heard referred to as

   9    the '488 Patent.     You've also heard these referred to and I

 10     will refer to them as the Patents-in-Suit or as the asserted

 11     patents.

 12           Next, Infernal Technology is the exclusive licensee of

 13     these asserted patents.

 14           Next, the '822 Patent, entitled Lighting and Shadowing

 15     Methods and Arrangements for Use in Computer Graphic

 16     Simulations, issued on March the 26th, 2002, with Mark R.

 17     Randel as the named inventor.

 18           Next, the '488 Patent entitled Lighting and Shadowing

 19     Methods and Arrangements for Use in Computer Graphic

 20     Simulations, issued on June the 13th, 2006, with Mark R.

 21     Randel as the named inventor and is a continuation of the '822

 22     Patent.

 23           Next, Plaintiff filed their complaint in this case on

 24     July the 11th, 2019.

 25           Next, the asserted patents expired on March the 12th,

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   1    2019, and the patent laws permit the recovery for acts of

   2    infringement up to six years prior to the filing of an

   3    infringement suit.     In this case, that date would be July the

   4    11th, 2013.

   5          Those are the stipulations of the parties.

   6          Now, certain testimony in this case has been presented to

   7    you through depositions.      A deposition is the sworn, recorded

   8    answers to questions asked to a witness in advance of the

   9    trial.   If a witness can't be present to testify in person

 10     from the witness stand, the witness' testimony may be

 11     presented under oath in the form of a deposition.

 12           Before the trial began, the attorneys representing the

 13     competing parties in this case questioned these deposition

 14     witnesses who were placed under oath.          A court reporter was

 15     present and their testimony was recorded.         Deposition

 16     testimony, ladies and gentlemen, is entitled to the same

 17     consideration as testimony given by a witness in person from

 18     the witness stand.     Accordingly, you should determine the

 19     credibility and importance of deposition testimony to the very

 20     best of your ability, just as if the witness had testified in

 21     open court.

 22           Now, while you should consider only the evidence in this

 23     case, you are permitted to draw such reasonable inferences

 24     from the testimony and exhibits as you feel are justified in

 25     the light of common experience.       In other words, and said

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   1    another way, you may make deductions and you may reach

   2    conclusions that reason and common sense lead you to draw from

   3    the facts that have been established by the testimony and

   4    evidence in this case.      However, you should not base your

   5    decisions on any evidence not presented by the parties during

   6    this case, including your own personal experience with any of

   7    the products that are at issue in this case.

   8          Now, unless I instruct you otherwise, you may properly

   9    determine that the testimony of a single witness may be

 10     sufficient to prove any fact, even if a greater number of

 11     witnesses may have testified to the contrary if, after

 12     considering all of the evidence, you believe that single

 13     witness.

 14           When knowledge of a technical subject may be helpful to

 15     the jury, a person who has special training and experience in

 16     that technical field, we call them an expert witness, is

 17     permitted to state his or her opinions on those technical

 18     matters.    However, ladies and gentlemen, you are not required

 19     to accept any expert witness' opinion.         As with all the

 20     witnesses, it's solely up to you to decide whether to rely on

 21     their testimony or not to rely on their testimony.

 22           Now, certain exhibits have been shown to you during the

 23     trial that were illustrations.       We call these types of

 24     exhibits demonstrative exhibits or sometimes simply

 25     demonstratives.     Demonstrative exhibits are a party's

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   1    depiction, picture, or model to describe something involved in

   2    the trial.       If your recollection of the evidence differs from

   3    these demonstratives, you should rely on your recollection of

   4    the evidence.      Demonstrative exhibits are sometimes called

   5    jury aids.       Demonstratives themselves, ladies and gentlemen,

   6    are not evidence, but the witness' testimony concerning a

   7    demonstrative exhibit is evidence.         These demonstratives will

   8    not be available for you to review during your deliberations.

   9          Now, in any legal action, facts must be proven by a

 10     required amount of evidence known as the burden of proof.                 The

 11     burden of proof in this case is on the Plaintiffs for some

 12     issues and on the Defendant for other issues.           There are two

 13     burdens of proof that you will apply in this case.             They are

 14     the preponderance of the evidence and clear and convincing

 15     evidence.

 16           The Plaintiffs in this case, Infernal Technology and

 17     Terminal Reality, who you've heard referred to collectively

 18     throughout the trial as the Plaintiffs, have the burden of

 19     proving patent infringement by a preponderance of the

 20     evidence.    A preponderance of the evidence means the evidence

 21     that persuades you that their claim is more probably true than

 22     not true.    Sometimes this is talked about as being the greater

 23     weight and degree of credible testimony.

 24           Now, the Defendant in this case, Sony Interactive

 25     Entertainment, which you've heard referred to as the

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   1    Defendant, you've also heard them called SIE or Sony, the

   2    Defendant has the burden of proving ineligibility of the

   3    Plaintiffs' patent claims by clear and convincing evidence.

   4           Clear and convincing evidence means evidence that

   5    produces in your mind an abiding conviction that the truth of

   6    the party's factual contentions are highly probable.            Although

   7    proof to an absolute certainty is not required, ladies and

   8    gentlemen, the clear and convincing evidence standard requires

   9    a greater degree of persuasion than is necessary to meet the

 10     preponderance of the evidence standard.         If proof establishes

 11     in your mind an abiding conviction in the truth of the matter,

 12     then the clear and convincing evidence standard has been met.

 13            Now, as I've previously told you, these two burdens of

 14     proof are not to be confused with the separate and different

 15     burden of proof known as beyond a reasonable doubt, which is

 16     the burden of proof applied in a criminal case and which has

 17     no application whatsoever in a civil case such as this.

 18     Beyond a reasonable doubt is a higher burden of proof than

 19     clear and convincing evidence and you should not confuse those

 20     two.   And clear and convincing evidence is a higher burden of

 21     proof than the preponderance of the evidence.

 22            Now, in determining whether any fact has been proven by a

 23     preponderance of the evidence or by clear and convincing

 24     evidence, you may, unless otherwise instructed, consider the

 25     stipulations of the parties; the testimony of all the

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   1    witnesses, regardless of who called them; and all the exhibits

   2    received and admitted into evidence over the course of the

   3    trial, regardless of who may have introduced those exhibits.

   4          Now, as I did at the beginning of the case, I'll first

   5    give you a summary of each side's contentions in this case,

   6    and I'll then provide you with detailed instructions on what

   7    each side must prove in order to win on each of its

   8    contentions.

   9          As I previously told you, this is an action for patent

 10     infringement.     Plaintiffs contend that the Defendant has

 11     infringed certain claims of the Patents-in-Suit.           Remember,

 12     there are two Patents-in-Suit:       The '822 Patent and the '488

 13     Patent.

 14           Plaintiffs contend that the Defendant infringes the

 15     following claims of the asserted patents:         Claim 1 of the '822

 16     Patent, Claims 1, 27, and 50 of the '488 Patent.           These are

 17     the asserted claims.      Plaintiffs contend that the Defendant

 18     has infringed the asserted claims by making, selling, using,

 19     or importing certain video games and consoles in the United

 20     States, which I will refer to as the accused products.

 21           The following video games, known as the Spider-Man

 22     accused products, are accused products in this case:

 23     Spider-Man, Uncharted 4:      A Thief's End; Uncharted:        The Lost

 24     Legacy; Uncharted 3:      Drake's Deception; Uncharted:        Nathan

 25     Drake Collection; the Last of Us; The Last of Us:           Remastered;

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   1    Ratchet and Clank; InFAMOUS First Light; Infamous Second Son;

   2    Driveclub; and PlanetSide 2.

   3          The parties have also agreed and stipulated that the

   4    Spider-Man game is representative of all the Spider-Man

   5    accused products.     That means whatever your findings may be as

   6    to infringement or non-infringement as to the Spider-Man game,

   7    the same result applies to the other games within the

   8    Spider-Man accused products.

   9          Now, the following video games, known as the God of War

 10     accused products, are also accused products in this case.

 11     They are God of War, Horizon Zero Dawn; Killzone:           Shadow

 12     Fall; Knack, and Knack 2.

 13           The parties have also agreed and stipulated that the God

 14     of War game is representative of all the God of War accused

 15     products.    That means whatever your findings may be as to

 16     infringement or non-infringement as to the God of War game,

 17     the same result applies to the other games within the God of

 18     War accused products.

 19           Now, Plaintiffs accuse Defendant's Spider-Man accused

 20     products and God of War accused products of infringing Claim 1

 21     of the '822 Patent and Claims 1 and 27 of the '488 Patent.

 22           Plaintiffs also accuse the following game consoles of

 23     infringing Claim 50 of the '488 Patent:         PlayStation 3 Base,

 24     PlayStation 3 Slim, PlayStation 3 Super Slim, PlayStation 4

 25     Base, PlayStation 4 Slim, and PlayStation 4 Pro.

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   1          Now, the Plaintiffs originally accused the PlayStation

   2    Vita console as infringing Claim 50 of the '488 patent during

   3    the trial, but based on an agreement of the parties reached

   4    after you left the courtroom yesterday evening, that product,

   5    the PlayStation Vita console, is no longer to be considered an

   6    accused product in this case.

   7          Now, the Defendant denies that it infringes any of the

   8    asserted claims.     Defendant denies that it makes, uses, offers

   9    for sale, sells, or imports any accused product that infringes

 10     any of the asserted claims.

 11           Defendant also contends that the asserted claims of the

 12     asserted patents claim subject matter that is ineligible for

 13     patent protection.     Patent ineligibility, ladies and

 14     gentlemen, is a defense to infringement.         Defendant has the

 15     burden to prove patent ineligibility by clear and convincing

 16     evidence.

 17           Patent eligibility and infringement are separate and

 18     distinct issues, and your job is to decide whether the

 19     Defendant has infringed any of the asserted claims and whether

 20     those claims are patent eligible.

 21           Now, before you can decide many of the issues in this

 22     case, you'll need to understand the role of the patent claims.

 23     The patent claims are those numbered sentences contained at

 24     the end of the patent.      The claims are important because it's

 25     the words of the claims that define what the claim covers and

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   1    what the patent covers.

   2            The figures and the text in the rest of the patent

   3    provide a description and/or examples of the invention and

   4    they provide a context for the claims, but it is the claims

   5    themselves, ladies and gentlemen, that define the breadth of

   6    the patent's coverage.      Each claim is effectively treated as

   7    if it were a separate patent, and each claim may cover more or

   8    less than another claim.      Therefore, what a patent covers

   9    depends, in turn, upon what each of its claims covers.

 10             Claims may describe apparatuses or methods.        Plaintiffs

 11     have asserted both apparatus claims and method claims in this

 12     case.

 13             Now, you will first need to understand what each claim

 14     covers in order to decide whether or not there is infringement

 15     of the claim.     Now, the law says it is my role as the Judge to

 16     define the terms of the claims and it is your role as the jury

 17     to apply my definitions to the issues that you are asked to

 18     decide in this case.

 19             Therefore, as I have explained to you at the beginning of

 20     the case, I have already determined the meaning of the claims

 21     and I have provided you with my definitions of certain claim

 22     terms, and those definitions are in your juror notebooks.                You

 23     must accept my definitions of these words from the claims as

 24     being correct.     It's your job to take the definitions that I

 25     have provided and apply them to the issues that you are

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   1    deciding, including the issues of infringement and patent

   2    eligibility.

   3          Now, for claim terms that I have not construed or

   4    defined, you are to use the plain and ordinary meaning of that

   5    term as it would have been understood by a person of ordinary

   6    skill in the art at the time of the invention.

   7          Now, several times in these instructions and throughout

   8    the trial you've heard reference made to a person of ordinary

   9    skill in the art or a person of ordinary skill in the field of

 10     the invention.

 11           In patent law, ladies and gentlemen, a previous device,

 12     system, method, publication, or patent that predates the

 13     claimed invention is generally called prior art.           Prior art

 14     may include items that were publicly known or that have been

 15     used or offered for sale, or references, such as publications

 16     or patents, that disclose the claimed invention or elements of

 17     the claimed invention.      Prior art may be authored or created

 18     by anyone.

 19           Someone with ordinary skill in the art is a hypothetical

 20     person who is presumed to know all of the pertinent prior art,

 21     not just what the inventor or another particular individual

 22     may have actually known, in the field of the invention at the

 23     time the application for the patent was filed.

 24           You should disregard any evidence presented at trial that

 25     contradicts or is inconsistent with the constructions and the

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   1    definitions that I have given you and that are in your juror

   2    notebooks.       Now, for claim limitations that I have not

   3    construed, that is, limitations that I have not interpreted or

   4    defined, you are to use the plain and ordinary meaning of the

   5    limitations as understood by one of ordinary skill in the art,

   6    which is to say, in the field of the technology of the patent

   7    at the time of the alleged invention.           The meaning of the

   8    words of the patent claims must be the same when deciding both

   9    issues of infringement and patent eligibility.

 10           Now, you've been provided with copies of the asserted

 11     patents, which are in your juror notebooks, and you may refer

 12     to them and use them in your jury deliberations.

 13           I will now explain how a claim defines what it covers.                A

 14     claim sets forth in words a set of requirements.            Each claim

 15     sets forth its requirements in a single sentence.            If a

 16     product satisfies each of these requirements, then it is said

 17     to be covered by the claim.        There can be several claims in a

 18     patent, and each claim may be narrower or broader than any

 19     other claim by setting forth more or fewer requirements.              The

 20     coverage of a patent is assessed on a claim-by-claim basis.

 21           In patent law, the requirements of a claim are often

 22     referred to as the claim elements or the claim limitations.

 23     When a product meets all the requirements of a claim, the

 24     claim is said to cover the product, and that product is said

 25     to fall within the scope of that claim.          In other words,

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   1    ladies and gentlemen, a claim covers a product where each of

   2    the claim elements or limitations is present in that product.

   3    If a product is missing even one limitation or element of a

   4    claim, the product is not covered by the claim.           And if the

   5    product is not covered by the claim, the product cannot

   6    infringe that claim.

   7          Now, the beginning portion or preamble of a claim often

   8    uses the word 'comprising'.       The word 'comprising', when used

   9    in the preamble, means including but not limited to or

 10     containing but not limited to.       When comprising is used in the

 11     preamble of a claim, if you decide that an accused product

 12     includes all the elements or requirements of that claim, the

 13     claim is infringed.     That is true even if the accused product

 14     contains additional elements.

 15           For example, a claim to a table comprising a table top,

 16     legs, and glue, would be infringed by a table that includes a

 17     table top, legs, and glue, even if the table also includes

 18     other structures such as leaves to expand the size of the

 19     table top or wheels to go on the ends of the legs.

 20           Now, while I told you in my preliminary instructions that

 21     there are two types of patent claims, independent claims and

 22     dependent claims, I want to be clear with you that this case

 23     involves only one type of patent claim:         Independent claims.

 24     There are no dependent claims before you in this case.

 25           An independent patent claim sets forth all the

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   1    requirements that must be met in order to be covered by that

   2    claim.   It is not necessary to look at any other claim to

   3    determine what an independent patent claim covers.

   4          Now, if a person or corporation makes, uses, sells, or

   5    offers for sale within the United States, or imports into the

   6    United States what is covered by a patent claim without the

   7    patent owner's permission, that person or corporation is said

   8    to infringe the patent.

   9          In reaching your decision on infringement, keep in mind,

 10     ladies and gentlemen, that only the claims of a patent can be

 11     infringed.       You must compare the language of the asserted

 12     patent claims, as I have construed each of them for you, to

 13     the accused products and determine from that comparison

 14     whether or not there is infringement.           This is the only

 15     correct comparison.

 16           You should not compare the accused products with any

 17     specific examples set out in the patent in reaching your

 18     decision on infringement.       In deciding infringement, again,

 19     the only correct comparison is between the accused products

 20     and the elements or limitations of the asserted claims as the

 21     Court has construed those claims.        You must reach your

 22     decision as to each assertion of infringement based on my

 23     instructions about the meaning and scope of the claims, the

 24     legal requirements for infringement, and the evidence

 25     presented to you by both sides, the competing parties in this

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   1    case.

   2            I will now instruct you on the specific rules that you

   3    must follow to determine whether Plaintiffs have proven that

   4    Defendant has infringed one or more of the patent claims

   5    involved in this case.

   6            A patent can be directly infringed even if the alleged

   7    direct infringer did not have knowledge of the patent and

   8    without the direct infringer knowing that what it did or was

   9    doing was infringement of the claim.           A patent may also be

 10     directly infringed even though the accused direct infringer

 11     believed in good faith that what it did was not infringement

 12     of the patents.     Infringement does not require proof that a

 13     party copied its product from the asserted claims.

 14             Now, you must determine separately for each asserted

 15     claim, whether or not there is infringement.

 16             In order to prove direct infringement of a patent claim,

 17     Plaintiff must show by a preponderance of the evidence that

 18     the accused products include each and every limitation or

 19     element of the claim.      In determining whether an accused

 20     product directly infringes a patent claim in this case, you

 21     must compare the accused product with each and every one of

 22     the requirements or limitations of that claim to determine

 23     whether the accused product contains each and every

 24     requirement or limitation recited in the claim.

 25             As I've told you earlier, there can be apparatus claims

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   1    and method claims.     Direct infringement of a method claim

   2    occurs only where all the steps of a claimed method are

   3    performed or are attributable to a single party.            An accused

   4    product infringes an apparatus claim if it's reasonably

   5    capable of satisfying the claim elements, all of the claim

   6    elements, even though it may also be capable of non-infringing

   7    modes of operation.

   8          Now, a claim requirement is literally present if it

   9    exists in an accused product just as it is described in the

 10     claim language, either as I have explained or construed that

 11     language for you, or if I did not explain or construe it as it

 12     would have been understood by its plain and ordinary meaning

 13     to one of ordinary skill in the art.           If an accused product,

 14     ladies and gentlemen, omits any element recited in a claim,

 15     then you must find that particular product does not literally

 16     infringe that claim.

 17           I'll now instruct you about the rules to follow in

 18     deciding whether or not Defendant has proven that any of the

 19     asserted claims of the Patents-in-Suit are ineligible for

 20     patent protection.

 21           To succeed on its claims for patent ineligibility,

 22     Defendant must establish two things.           The first is whether or

 23     not the claims are directed to an abstract idea.            That issue

 24     is an issue for the Court to decide and not the jury.             I will

 25     make that determination after this trial is over.            It is not

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   1    something that you will decide.

   2          However, you, the jury, will decide the second question

   3    or issue related to patent eligibility.         Specifically and in

   4    that regard, the Defendant must show that the claims involved

   5    nothing more than the performance of activities which a person

   6    of ordinary skill in the art would have considered to be

   7    well-understood, routine, and conventional at the time the

   8    patent application was filed.       You, the jury, will determine

   9    this issue.

 10           To meet its burden on this issue, Defendant must show by

 11     clear and convincing evidence that the asserted claims involve

 12     only technology which a person of ordinary skill in the art

 13     would have considered to be well-understood, routine, and

 14     conventional, as of March the 12th, 1999.

 15           The mere fact that something was known in the art at the

 16     time does not necessarily mean that it was well-understood,

 17     routine, and conventional.      Rather, ladies and gentlemen, the

 18     test is whether, in view of all the evidence, a person of

 19     ordinary skill in the art would have considered the claim to

 20     involve only technology that was well-understood, routine, and

 21     conventional, as of March the 12th, 1999.

 22           You should consider all the evidence presented during the

 23     trial, including the testimony of the witnesses as well as the

 24     exhibits introduced, including the specifications contained

 25     within the Patents-in-Suit.       If the evidence shows by clear

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   1    and convincing evidence that the elements of the asserted

   2    claims, when taken individually or when taken as an ordered

   3    combination, involve only technology which a person of

   4    ordinary skill in the art would have considered

   5    well-understood, routine, or conventional, then this element

   6    of patent ineligibility have been established.

   7            Now, ladies and gentlemen, with these instructions, we'll

   8    proceed to hear closing arguments for the attorneys in this

   9    case.

 10             Mr. Buether, the Plaintiffs may now present their first

 11     closing argument.

 12                  MR. BUETHER:   Thank you, Your Honor.

 13                  THE COURT:   You may proceed with your first closing

 14     argument when you are ready.

 15                  MR. BUETHER:   I am ready, Your Honor.

 16             Ladies and gentlemen of the jury, first of all, we do

 17     thank you for your service and your dedication this entire

 18     week, and for those of you who have been so lucky to be chosen

 19     to serve on this jury, we do thank you for that.           And

 20     unfortunately all good things must come to an end, and so

 21     we're reaching the end of your service as a juror.

 22             And when you go back home, I think the one thing you'll

 23     see that's different from the week that you spent here is that

 24     when you enter a room, everybody probably won't stand up for

 25     you, and -- but we do that because it's out of respect for you

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   1    and your service, the judicial system that you are helping

   2    further, and it's out of respect for your efforts here.

   3          So even though people won't stand up for you when you get

   4    home, that doesn't mean you shouldn't be proud of what you've

   5    done here.       And so we do thank you for that.

   6          Now, you heard several witnesses, seen many documents.

   7    We've taken some notes about what we think has been proven and

   8    read documents that remind us.        So the purpose of my closing

   9    statement is to convey to you some of the things that we

 10     recall that happened here that we think should guide your

 11     decision, but it is up to you to decide what is important and

 12     to -- what to rely on to make your decision.

 13           So if I don't mention something, it's not because I don't

 14     think it's important, but you can't repeat everything that

 15     happened in a three-day trial in 30 or 40 minutes.             So it's up

 16     to you to consider what's important, but we're going to tell

 17     you a few things that we think are.

 18           So at the beginning of this trial, I told you that we

 19     would show you evidence that Sony has infringed the four

 20     asserted patents [sic] and used Mr. Randel's patented

 21     invention about shading and lighting sufficiently to meet our

 22     burden of proof and to prove to you that that was done.              And

 23     we believe we've done that, ladies and gentlemen.

 24           You'll recall -- there we go.        The providing -- one of

 25     the elements -- you've heard a lot of this, so I'm going to

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   1    jump right into the specifics.       But one of the elements of

   2    Claim 1 of the '822 Patent and other claims was providing

   3    observer data, which the Court has defined as data

   4    representing at least the color of objects in a simulated

   5    multi-dimensional scene as viewed from the observer's

   6    perspective.

   7          There we go.

   8          And so there's the claim language and there is the

   9    construction, providing means making available.           And so

 10     observer data is at least the color of objects.           And we've

 11     shown you that Sony provides color data, depth data, and some

 12     other observer data, but color and depth are what are most

 13     important in this trial.      And we believe it's clear that color

 14     and depth data is at least color data.         It's at least the

 15     color of objects.     So that element has been satisfied.

 16           I'm hitting the wrong button.       I'm sorry.     Okay.     There

 17     we go.

 18           And we submitted -- you saw the slides of the source code

 19     that Doctor Hart had reviewed, and he went through that source

 20     code painstakingly for each game to show where the color data

 21     and the depth data was in the -- in the code for these games,

 22     and that Sony did practice that step, that part of the step of

 23     observer data, providing observer data, to constitute

 24     infringement.

 25           Now, the second element of that patent, the Claim 1 of

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   1    the '822 Patent, is providing lighting data, which the Court

   2    has provided a claim construction for the term 'light image

   3    data'.

   4            And so we showed you at the beginning of the trial that

   5    we would prove that Sony and its accused games provide this

   6    lighting data, and according to the Court's construction and,

   7    again, Mr. -- Doctor Hart submitted substantial evidence of

   8    analyzing the code for both games and showing exactly where

   9    the -- that's the wrong one; I have that out of order -- the

 10     light image data was located.

 11             You'll recall his slides and, more importantly, his

 12     testimony about what those slides showed, and those slides

 13     were depicting Sony's source code for these two games, and he

 14     was telling you and showing you exactly where in that source

 15     code light image data was provided by Sony for these two

 16     games, several examples.

 17             The next step is comparing which is comparing -- rather,

 18     I'll say it's comparing or storing, so it's a very long claim,

 19     but bottom line, you have to compare at least a portion of

 20     said observer data with at least a portion of said lighting

 21     data.    So you don't have to take all of the observer data,

 22     which is at least color data, or all of the lighting data to

 23     make this determination.      You only have to take a portion of

 24     it.

 25             And so we told you we would prove that lighting data and

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   1    depth data were compared, and color data is included in

   2    that -- rather, depth data is included in the material that is

   3    compared.    And since color data and depth data are the

   4    observer data, it is at least the color of objects.            So

   5    although depth data was used here, depth data is part of the

   6    information provided by Sony to the computer, and so you have

   7    color and depth data which qualifies as at least the color of

   8    objects.

   9            And, once again, Doctor Hart went through the source code

 10     in a painstaking manner and showed and explained exactly how

 11     the Sony games stored in a light accumulation buffer the

 12     compared data to determine a model point.         And you can see, if

 13     you recall, he went through all this very complicated code and

 14     was able to explain how these elements were present in that

 15     code.

 16             The last step of Claim 1 -- or not the last step, but the

 17     last active step is combining, and it says combining at least

 18     a portion of said light accumulation buffer data with said

 19     observer data.     And so what do the Sony products do?         Doctor

 20     Hart explained:     They combine color data with a portion of the

 21     data in the light accumulation buffer.         Color data is, of

 22     course, at least the color of objects, and so that proves that

 23     element.    And, again, Doctor Hart went through the source code

 24     very carefully and pointed out in several occasions where that

 25     data was combined.

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   1            And so Sony challenges this step.         They say, Oh, no, we

   2    don't do that.      But they challenge it on a completely improper

   3    basis.    And you'll recall they talked about two challenges to

   4    the Plaintiffs' case, and the combining step is their second

   5    challenge.       And I'll discuss that one first.       And Doctor

   6    Lastra, you'll recall, said that only after all light falling

   7    on a region is stored can you combine that data with observer

   8    data.    And as you'll also recall -- this is where he made that

   9    assertion.

 10             But as you also will recall, Doctor Lastra misrepresented

 11     the requirement here, the claim language that was required.

 12     He said all and -- and, as he admitted, he was wrong about

 13     that.    He had made up the language that he was using to

 14     analyze the claims and the products.            And so he admitted that

 15     that analysis was flawed.       And so for that reason alone, you

 16     should disregard what he had to say about a non-existent claim

 17     limitation.

 18             But beyond his error in applying the wrong standard and

 19     the wrong claim language, we submitted substantial evidence

 20     showing how the comparing step and the storing step was used

 21     or was implemented before the combining step was performed.

 22     As you'll also recall, Doctor Lastra acknowledged that the

 23     fact that Sony may do things out of order on one occasion

 24     doesn't negate the fact that they practiced the step in other

 25     occasions.

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   1          So the fact -- the question is, did they do it and not

   2    did they do it all the time or forever.         And the evidence

   3    shows that they did do it.       And Doctor Lastra applied his own

   4    improper test to come up with an opinion that Sony didn't do

   5    it, but because he applied -- he didn't apply the claim

   6    language as construed by the Court, that analysis is

   7    inapplicable and should be disregarded.

   8          And here's where I asked him.       So based on your

   9    understanding of what comprising means -- oh, this is a

 10     separate point.     I'm sorry.    You heard the Judge's instruction

 11     on comprising, and so that means that if Sony's accused

 12     products do other things in addition to what the claim

 13     requires there for combining, that doesn't matter.            Comprising

 14     allows other additional non-claimed steps to be performed, and

 15     that doesn't change the fact that Sony infringes.           So keep

 16     that in mind.     The fact that Sony may do another thing here

 17     and another thing there doesn't take away from the fact that

 18     they did what the claim requires.       And once you satisfy those

 19     ingredients, anything else you're doing doesn't matter because

 20     you've infringed once you've done what the claim requires, and

 21     you can do a hundred thousand other things, it doesn't change

 22     that fact.

 23           And this goes to the same point that -- that the fact

 24     that you don't practice the steps in the proper order in one

 25     occasion doesn't change the fact that you did in other

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   1    occasions, so that doesn't relieve you of your infringement.

   2          See, here is where he said -- here is where he said, "So

   3    if Sony games on a separate occasion from the instance that

   4    Doctor Hart talked about did the steps in the wrong order,

   5    that wouldn't change the fact that it did the steps in the

   6    right order in another occasion."

   7          He said, "That's right.      If it had done the steps in the

   8    right order."

   9          So that's without dispute in this case.

 10           Now, the other argument that Sony has made here is it

 11     argues that there is a requirement that the light be stored in

 12     the accumulation buffer from the light source's perspective

 13     for a cumulative light falling on a region.          And the problem

 14     with that construction is, Doctor Lastra had to concede, is

 15     that is really a combination of two different claim elements.

 16           So, once again, Doctor Lastra didn't follow the claim

 17     language and didn't follow the Court's interpretation of that

 18     claim language, but made up his own claim element and then

 19     said that Sony didn't infringe that element.          Well, that's

 20     totally improper.     Once again, it's a flawed analysis.

 21           And so, for example, here, he took those two light

 22     accumulation buffer and light image data constructions and

 23     blended them together.      Totally improper.     As you can see

 24     here, the light image data is from one step and the light

 25     accumulation buffer is from another step, and they're

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   1    separately defined.      It's improper to merge the two.         They are

   2    not -- they are separate steps.

   3          And so here is where Doctor Lastra admitted that that's a

   4    false or flawed analysis.       And he agreed essentially that what

   5    he did was flawed and, therefore, wrong.          You can't blend

   6    those claim constructions like he did.

   7          Okay.      Now we get to one aspect of Doctor Lastra's

   8    blended claim, and that is the light falling on a region.                 And

   9    you'll recall when Mr. Hastings was up here, he admitted that

 10     the physically-based rendering model of rendering that the

 11     Sony games that are accused use, that they evaluate the light

 12     that's falling on a material or a region.

 13           He said -- I asked him, "The light falling on a material

 14     is equivalent to the light falling on a region of the pixels

 15     that are depicting that material.

 16           "Yes."

 17           And then he admitted that they do that.          It's part of

 18     their physical-based rendering model.           And Mr. Hobson agreed

 19     with that for the God of War.        And so even if you look at

 20     Doctor Lastra's flawed analysis, the evidence shows that the

 21     Sony games do evaluate and process light falling on a region.

 22           And this slide from Mr. Hastings' testimony confirmed

 23     that, because here you had a light source over on the left

 24     hitting the ground, falling on the ground, and then there is

 25     light reflecting from that light falling on the ground back up

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   1    to the observer.     You can't have the reflection without the

   2    light falling on the ground first.        Doctor -- rather Mr.

   3    Hastings conceded that point.

   4          And so the light that's being observed by the observer

   5    originated from, came from, and that's one of the things they

   6    want to look at, the light over here that was falling on the

   7    region of the ground.

   8          And so there's no question that Sony's games do this.

   9    And so Doctor Lastra's analysis, beginning with a flawed claim

 10     interpretation, also ignored this evidence where it clearly is

 11     light falling on the ground and then being reflected and

 12     observed by the observer.      And so that argument is no good.

 13           And here, yeah.     "Okay.   Is it correct, Mr. Hastings,

 14     that the only light that is viewed from the observer's

 15     perspective on these slides is reflected light?

 16           "Yes."

 17           And that the specification -- this is Docket

 18     Lastra -- before I get to that.       And so, once again, without

 19     light falling on the ground, there's no reflection from it

 20     somewhere else.     And so to say it doesn't -- that the Sony

 21     games don't evaluate that light falling on the ground is

 22     ignoring half of reality.      And so for that reason, Doctor

 23     Lastra's opinion that there's no satisfaction of the light

 24     image data being provided or the storing element being

 25     provided on this ground is without basis.

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   1          Now, Doctor Lastra tried to -- it's -- his argument was

   2    that you only -- that if they didn't evaluate the light

   3    falling on the ground on the region from the light source,

   4    well, then they didn't infringe and he tried to justify that

   5    analysis by pointing to some pseudo code in the patent that he

   6    claimed showed that it's the perspective of the light source

   7    has to be done and they didn't do that.         Their games use the

   8    perspective of the observer.       So he said that's why we don't

   9    infringe.

 10           But -- and here he was asked by Mr. Buresh about the

 11     pseudo code, and he said that's a good thing to look at

 12     because it tells you that there is a distinction.           Well, it

 13     turns out that Doctor Lastra's analysis of that pseudo code is

 14     a hundred percent wrong.      This is the pseudo code that he

 15     looked at, and it's a bit complex, but he was looking down

 16     here at the accumulation SPx SPy plus y equals light image,

 17     but he completely ignored the statement above where it says

 18     for each pixel in camera image SPx and SPy.

 19           So what the patent was teaching is not that you require

 20     looking at the light source or looking at the light data from

 21     the light source's perspective; you look at it from the camera

 22     image.   It starts up there at the light source, but it ends up

 23     and is counted or accumulated from the observer's perspective.

 24     So Doctor Lastra had this wrong as well.

 25           Yeah, this little snippet, it looks like it's a

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   1    little -- it only has the question.        I'm sorry.      Could we --

   2    this is where -- I'll tell you what.           This is where Doctor

   3    Hart -- I asked him, is this like one second out of the whole

   4    game that you cherry-picked to show the jury and claim that

   5    the game infringes?     And he confirmed, no, he found this code

   6    in each of these cases, the providing observer data, providing

   7    light data, comparing, storing, and combining, he found that

   8    code all over the place, but, you know, it wouldn't be

   9    worthwhile for him to show every instance.           And guess what?

 10     His statement was never challenged by Sony.           They never

 11     questioned his saying that there were many, many, many

 12     instances of this happening.       So I don't want you to go away

 13     and think that that was the only occasion where Sony did this.

 14     Once is enough, but they did it throughout the game.             So I

 15     wanted to confirm that.

 16           Lastly, there's a displaying step which comes last, and

 17     that was shown satisfied because Sony tests and demonstrates

 18     the accused video games.      So they hook up the system so that

 19     the lighting and shadowing information that's being provided

 20     and accumulated is shown when they test the games internally

 21     to see if they have bugs or not.       And when they demonstrate

 22     the games to the public, they certainly have to display the

 23     game after it performs all of those steps.           And so it's clear

 24     that Claim 1 is infringed.

 25           Now, you also heard that -- from a witness that, oh, that

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   1    code that you see there, we really don't use it, which was a

   2    bit unusual, but they claim that.       But then you heard Mr.

   3    Hastings admit they have -- they claimed that they have

   4    documents that would prove that.       Oh, but they didn't show you

   5    any.    So, trust me, we don't infringe.       Even though our code

   6    says we do, pretend it doesn't exist because we really don't

   7    use that stuff.     Yet they didn't show you any evidence that

   8    they don't use that.      So I would think the jury -- you should

   9    disregard that unsupported claim by them that they don't use

 10     that.

 11             Plus, as you heard from Doctor Hart, that's not the only

 12     occasion on which they performed those steps.          And so that's

 13     not an excuse.     They shouldn't avoid responsibility for what

 14     they've done by making an unsubstantiated claim that that

 15     piece of code that Doctor Hart pointed to, oh, we don't do

 16     that.    It's just there for kicks and giggles.

 17             So the '822 claim 1 has been met.      All of the elements

 18     have been -- the steps have been performed, and that

 19     constitutes infringement.

 20             And then, of course, Claim 1 of the '488 is virtually

 21     identical except for the last step.        So four or five of those

 22     steps have also been performed.

 23             And with regard to the last element or step, it says

 24     outputting resulting image data.       Well, it's not exactly the

 25     same as displaying.     But when Sony tests and demonstrates its

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   1    games, it is outputting the resulting image data, in this

   2    case -- or in that case if it's a demonstration to the -- to

   3    the computer that's showing it to the -- to the event that's

   4    come to watch it or internally when they are testing it to the

   5    testers so they could see how the game is actually operating.

   6    So the outputting step has been satisfied.          That means Sony

   7    infringes Claim 1 of the '488 Patent.

   8          Now, then you come to Claim 27, which has a preamble that

   9    is different from the method claims that were in the '822

 10     Claim 1 and the '488 Claim 1.       So this is an apparatus claim,

 11     not a method, and so it's about what the thing is as opposed

 12     to using it and performing it.

 13           And Doctor Hart explained that both Spider-Man and God of

 14     War, they are available on disks as well as digital downloads.

 15     Those are computer-readable mediums, and those games carry the

 16     source code or the software based on the source code that

 17     carry the instructions, and they're configured to cause a

 18     processor in whatever is displaying this game to perform that

 19     method, to use that method.

 20           And so clearly Claim 27 is infringed because they supply

 21     the disks and the digital downloads to perform the method.

 22     And so that's why the '488 Claim 27 is infringed by Sony.

 23           Then you've got the platforms.       A bit of a different

 24     claim because this is also an apparatus claim that concerns a

 25     computer circuit for processing computer graphics, coupled to

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   1    a computer system to operatively render simulated shadows in a

   2    multidimensional simulated scene by performing steps

   3    comprising, and those steps are very similar to the steps

   4    you've already seen and heard about.           But it's a little

   5    different so it deserves its own treatment.

   6          But before you do that, you must look at the Court's

   7    construction.     And so it construes the preamble as limiting,

   8    and it's a computer circuit actually programmed or equipped

   9    with hardware or software for processing the computer graphics

 10     data that is coupled to a computer system to operatively

 11     render the simulated shadows by performing those steps

 12     comprising.

 13           Again, it can include more, but if it includes this, that

 14     is good enough for infringement.       But, most importantly, the

 15     Court construed that the data that was being received by the

 16     device, the PlayStation, in this claim and limitations

 17     observer data and lighting data, did not have to be in the

 18     computer.    It does not require that.         They could be supplied

 19     by the game.     And so Doctor Hart went through the circuit in

 20     the devices, the PlayStation devices, and showed where the

 21     computer circuit is, where the computer system is that it's

 22     connected to or coupled to.       It showed the GPUs that were used

 23     by the box to process the data that's needed to perform the

 24     steps and then display the result.

 25                 THE COURT:    Mr. Buether, you've used 25 minutes you

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   1    have eight minutes in advance of having used 33 minutes.

   2                MR. BUETHER:    Thank you, Your Honor.

   3          And so, once again, the detailed analysis by Doctor Hart

   4    of the circuitry and hardware in the platforms shows that all

   5    of the elements of the preamble are met.         I believe you'll

   6    recall that.

   7          And then it also shows that the comparing step, because A

   8    and B don't have to be in the device, but he showed in the

   9    games where those -- that data was.        But in subset (c), he

 10     showed where that is performed, that Sony's API converts the

 11     information to satisfy that.       This is where in the circuitry

 12     the storing occurs.     He showed and explained that.         He showed

 13     where the combining is.      And then we go to transmitting.         He

 14     showed how the data is then transmitted outside the computer

 15     to be displayed on a display device.

 16           Once again, Doctor Lastra used his light image data

 17     excuse by saying, oh, it doesn't use -- it uses the

 18     perspective of the light source, not the observer, but we've

 19     already shown how that's not a valid analysis for several

 20     reasons.

 21           And then he tried again the combining argument which is

 22     based upon the totally flawed analysis of a claim term that

 23     didn't even exist, that he made up.

 24           And so for that reason, you'll see that all four claims

 25     that have been asserted, we've submitted the proof that shows

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   1    that Sony infringed those patents and infringed those claims

   2    of those patents.

   3          Again, we've taken out the Vita product it's not at

   4    issue.

   5          And we've also shown you through the deposition testimony

   6    you've heard and other evidence that Sony made and sold the

   7    accused video games in the United States.         They tested and

   8    demonstrated the accused video games.          They imported these

   9    games, and then they also sold the -- rather, the consoles,

 10     and they also sold those consoles in the United States.             So

 11     Sony clearly has infringed these claims of the patent.

 12           I've already talked about Mr. Hastings' testimony, so

 13     let's skip that.

 14           Now I want to point your attention to what I call Sony's

 15     red herrings.     You heard a lot of argument about things or

 16     evidence about things that don't even matter.          Doctor Lastra

 17     admitted that all the side issues about TRI being a good

 18     business partner or Infernal -- the fact that Infernal is a

 19     party in this case as an exclusive licensee or that TRI has

 20     not used the invention for a period, all of --

 21                 THE COURT:    Mr. Buether, you've used 28 minutes.

 22     You're five minutes in advance of using 33 minutes.

 23                 MR. BUETHER:    Thank you, Your Honor.

 24           Whether the patents expired is completely irrelevant.

 25     The press article that gave a low rating to Nocturne, totally

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   1    irrelevant to the issues that you have to decide.           And so

   2    please ignore them.

   3            For example, TRI not using the invention?        You heard from

   4    Mr. Hastings and Mr. Hobson that with the advent of consoles

   5    for a long period of time they didn't have the horsepower to

   6    perform these kinds of operations.        They couldn't do it until

   7    2013.    It's not that Sony couldn't handle coming up with a

   8    method for rendering graphics.       It's that they didn't have the

   9    tools.    They were not based on PC use.       They were based on the

 10     consoles which simply didn't perform adequately to perform

 11     these methods.

 12             And that's why, unfortunately for Mr. Randel, he had

 13     developed this great invention that worked extremely well, but

 14     just as he did that, the ground shifted from PC use to console

 15     use, and the console simply couldn't do it.

 16             So there's -- oh, so let's talk about the well

 17     understood, routine, and conventional issue.          You'll recall

 18     Doctor Lastra admitted there is a presumption of validity.

 19     You heard from the Judge that they have to prove this issue by

 20     clear and convincing evidence.       And I submit all you heard

 21     from Doctor Lastra was totally conclusory opinions.            He didn't

 22     cite a single document that supported his opinions that this

 23     was well-understood, routine, and conventional.

 24             And I submit, if something has been well-understood,

 25     routine, and conventional since 1999, I'm sure somebody would

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   1    have written something about it and Sony would have found it

   2    and shown it to you.      But they didn't because they didn't have

   3    it.   And remember that Sony has stipulated that it is not

   4    challenging the invalidity of Mr. Randel's patents; only the

   5    patent ineligibility.      And that requires a showing that the

   6    invention at the time was well-understood, routine, and

   7    conventional, and they didn't do that.

   8          And, finally, if you heard Doctor Lastra's testimony, he

   9    didn't really address the true nature of this invention, which

 10     was converting 3D polygons to 2D pixels before you implemented

 11     his invention because that made it work faster and smoother

 12     and also that you avoided the double darkening problem, double

 13     shadowing, by finding what's illuminated versus finding out

 14     what's shadowed.     So I submit that Sony didn't come close to

 15     satisfying their burden of showing that his invention in 1999

 16     was well-understood, routine, and conventional.

 17           Oh, that's right.     This is not -- and you'll remember

 18     that Doctor Hart came back on rebuttal after listening to all

 19     of this evidence and swore under oath that none of that

 20     changed his opinion and he still adhered to his belief that

 21     the accused games and consoles did infringe the claims of the

 22     patents that have been asserted.       And we ask you to hold Sony

 23     accountable and find that they have infringed these claims

 24     because that's what they did.

 25           Thank you very much.

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   1                THE COURT:    Defendant may now present its closing

   2    argument.

   3          Proceed when you're ready, Mr. Buresh.

   4                MR. BURESH:    Thank you, Your Honor.

   5          When I was growing up, there was a donut shop in town.

   6    We were kind of on the outskirts, but one of the things my dad

   7    let me do on Saturday mornings was ride my bike into town.               It

   8    was Dad's Daylight Donut Shop.       Have you heard of those old

   9    ones that used to be around?       And when I'd go there on

 10     Saturday morning, there was a group of old country lawyers

 11     that would gather in there and drink their coffee on Saturday

 12     morning.

 13           And as they started seeing me every, you know, couple of

 14     weeks or whatever, they would draw me into their

 15     conversations.     And it was an amazing experience for me.          I

 16     would sit down and eat my donuts and listen to them as they're

 17     drinking their coffee, and they would talk about their war

 18     stories of the trials they had in their little county

 19     courthouses over the week.      And, you know, we started to

 20     become -- I don't know what they'd call it, I would call it

 21     friends looking back.

 22           As I got older -- I was probably 9 at that point.            But as

 23     I got to 12, 13, they started inviting me to go to court with

 24     them and watch what they were doing, like during the

 25     summertime I'd go watch a case with them and they'd tell me

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   1    what they were doing.      And then sometimes on Friday nights,

   2    they'd come and watch me at the American Legion Field.             We'd

   3    play a baseball game.      They'd come watch that.       We were -- we

   4    were friends.

   5            Now, those gentlemen are all passed away, but they left a

   6    mark on me.      As I was a little kid, I kind of worshipped them.

   7    Not in a bad way, but they were amazing.         They had their names

   8    on buildings in town, and I thought they were -- they were

   9    super.    But they left a mark on me.

 10             And one of the things that they taught me from that young

 11     age as I was starting to learn about the law through them was

 12     that this room that we're in now, it's a sacred room.            You

 13     know, one of them would -- used to tell me, he would say, it's

 14     not quite as sacred as the altar in our church, but it's

 15     pretty close.     It's a -- it's a sacred room.       And the reason

 16     it's a sacred room is because this is where justice is done.

 17     And you're part of that process.

 18             You don't bring stuff in here like it's some kind of

 19     game.    You don't, you know, make stuff up as you go along.

 20     You come here to tell the truth and to have justice done.

 21     This is a sacred room.

 22             Another of the things that they taught me was the beauty

 23     of the jury system.     They taught me to love the jury system.

 24     Now, a lot of folks are -- even in my profession, they're

 25     scared of juries.     They say, whoa, you know, I want to be in

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   1    control.    I'm a control freak.      So I don't want to give

   2    control over to a group of eight people that I just met and I

   3    don't know beyond some information on a page and a few

   4    questions.       It's scary for folks.

   5          But it's not scary for me because, again, I was brought

   6    up from a young age to see that juries operate with

   7    the -- just in a way that's hard to describe.

   8          But the Court -- there's -- I said this in my opening and

   9    the Court read instructions to you and will provide these

 10     instructions to you when you're back in your jury room.              But

 11     if you look at page 5 of those instructions, there's a whole

 12     paragraph in there talking about your common sense, which I

 13     talked to you about in the beginning.           Your life experiences

 14     that you bring to this.

 15           And as I said earlier in the case, as you all get

 16     together and have the opportunity to do what we call

 17     deliberate, that common sense just comes together and becomes

 18     a powerful force for finding the truth, the truth that

 19     supports justice.      Okay?

 20           And another instruction from the Court that will be with

 21     you in the jury room, it's on page 2, there's a whole

 22     paragraph here talking about the importance of the credibility

 23     of witnesses.      That just means their honesty.       Do you think

 24     they were telling the truth?        Is what they're selling you a

 25     bill of goods or is it meaningful?         Is it something you want

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   1    to weigh as evidence?        There's a whole paragraph here telling

   2    you how to do that.     That's an application of common sense to

   3    judge the credibility of witnesses.

   4          And I've seen it happen over and over again, and I trust

   5    the system.      I think it's a wise system.     It's been around, as

   6    His Honor said, since the time of Moses and the Israelites.

   7    It's been around a long time and it works.          Okay?

   8          So as we came here a few days ago, the scales of justice

   9    were perfectly even.      You remember that?     Nobody had given any

 10     evidence yesterday.     It was ground zero.      Everything was

 11     perfectly even.

 12           Now you've heard the evidence.       Okay?    And it's your job

 13     applying that common sense and applying a judgment of

 14     credibility to start to take the evidence you've heard and

 15     place it on a scale.      Is it going to go on Plaintiffs' scale?

 16     Is it going to go on Sony's scale?        That's what you're going

 17     to be doing while you deliberate to see who has more credible

 18     evidence.    Okay?

 19           So I want to start out by just looking at the witnesses

 20     we've walked through.        I'm going to go through each one that

 21     you heard from.      Okay?   I want to start on the Sony side

 22     first.

 23           You heard from Mr. Hastings who's been with us here for

 24     the entire time and Mr. Hobson who joined us yesterday.             Those

 25     gentlemen came in and they told you the truth.           They didn't

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   1    equivocate, they didn't dodge questions, they didn't evade

   2    even on cross-examination when Mr. Buether was asking them

   3    questions.       When they received a direct answer that they

   4    understood, they -- I'm sorry, a direct question that they

   5    understood, they gave a direct answer.          No games.

   6          You heard from Doctor Lastra, who's still sitting with us

   7    in the back of the courtroom.        He testified as well.       And when

   8    he received direct questions that he could understand, he

   9    provided direct answers.       He did not evade.      He did not play

 10     games.   He just testified question and answer.           It was fair.

 11     He testified truthfully.

 12           Now, Mr. Buether -- I want to talk about his accusations

 13     against Doctor Lastra.       He has basically told you that Doctor

 14     Lastra contradicted the Court's claim constructions.             He just

 15     said it again standing right here.         He said that Doctor Lastra

 16     admitted that his analysis was flawed, and he showed you that

 17     testimony on a slide that was up on your screen for all of 10

 18     seconds with a full paragraph of question and answer there.

 19     He showed it to you for 10 seconds.         Because what Doctor

 20     Lastra actually said was, if I had applied the wrong claim

 21     construction, then my analysis would be flawed.            Okay?

 22           Now, as the day progressed yesterday and Doctor Hart came

 23     up on a rebuttal case, you actually got to see an instance of

 24     an expert who was, without question, offering you testimony

 25     that contradicted the Court's constructions.           Without

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   1    question, he did that.

   2          The Court's constructions are the rules of the road.

   3    They are binding on us, they are binding on Plaintiffs, and

   4    they are binding on you.      It's not even a question for you.

   5    You just apply the Court's constructions that are going to be

   6    in your jury binder.      It's not a question for you.

   7          But I'm telling you, when an expert -- if Doctor Lastra

   8    had attempted to offer evidence that was contrary to the

   9    Court's constructions, you can't do that.         Okay?    That tells

 10     you all you need to know about the accuracy of his testimony.

 11           But let me walk through it.      Okay?    We've seen this.         I

 12     want you to see it again.

 13           As we proceeded through this case, there were three key

 14     questions--what was being accumulated, what kind of light.

 15     Now, Mr. Hastings, Mr. Hobson, Doctor Lastra, all

 16     unequivocally said Sony never accumulates light falling on a

 17     region.   And you heard from Mr. Hastings and Mr. Hobson not

 18     only that they don't but why they don't, that it would mess up

 19     their games, that their graphics wouldn't look good if they

 20     did it the way Mr. Randel did it.       Okay?

 21           From which perspective the light sources.           It has to be

 22     accumulated from the light source's perspective.           That's the

 23     can light looking down.      They say, we never accumulate that.

 24     Each one of these witnesses--never do that.          Because we want

 25     to know what's hitting your eyes.       We don't care what's

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   1    falling on the surface.       Okay?

   2            And only at the end.      You can't use observer data until

   3    you've accumulated all your light.        That's the -- that's the

   4    join-it together step.      Right?     The join-it together, and then

   5    you can use your observer data in Mr. Randel's method.

   6            Sony can't do that.    They have to use observer data at

   7    every step in order to figure out what your perspectives are.

   8    Remember Juror No. 1 has a different perspective than Juror

   9    No. 4?    Remember that?    Okay.     You have to use observer data

 10     to figure that out.

 11             So Doctor Lastra, he did what a professor does.         He did

 12     what an expert does.      Okay?    He's trying to educate.      He's

 13     trying to assist you in your understanding.          So what Doctor

 14     Lastra provides here is an easy, as close to plain English as

 15     you can, explanation of what's required by Mr. Randel's

 16     claims.

 17             I want you to judge for yourselves, does this align with

 18     the claim constructions.       Okay?   So look at these words that

 19     I've underlined, kind of put them in your memory banks.             Light

 20     source's perspectives and cumulative light falling on a

 21     region.    Okay?

 22             Now I'm going to go to the next screen which is the

 23     Court's claim constructions.        You see here down with me in the

 24     claim language that storing limitation?         Storing light image

 25     data.    So we go up and we look at what light image data is.

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   1    It's light emitted as viewed from the light source's

   2    perspective.     It's the same words, exactly same words.

   3            Now we've got to store that light--go back to the claim

   4    with me--in the light accumulation buffer.          Do you see that?

   5    Now look with me at the Court's definition of light

   6    accumulation buffer.       The Court has said that you need to

   7    store light image data, that's this one, for the cumulative

   8    light falling on a region.      Same words that Doctor Lastra

   9    provided you, same exact words.

 10             Now, Mr. Buether goes, well, Doctor Lastra, he's merged

 11     them.    He's merged these requirements and, therefore, his

 12     testimony is invalid, you should scrap the whole thing.

 13             If we look at the light accumulation buffer, what's it

 14     say?    It is memory for storing the light image data.          The

 15     Court's construction treats them as merged.          Okay?

 16             Let's go to the next screen and see if I can take off my

 17     smiley face.

 18             The second step.    After the first step, we've stored all

 19     the light falling on the region, and, yes, I'm going to call

 20     it clumping.     I'm not backing down from that.       If you take 10

 21     baseballs, duct tape them together into a beach ball, you've

 22     got a clump.     If you take 10 light sources that are falling on

 23     this spot right here and you clump them together, you've got a

 24     clump.

 25             Now, here's a secret.    I'm not a computer scientist.           I

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   1    have no degrees in computer science or any of this stuff.

   2    Neither do you guys.      Neither does Mr. Buether.       Doctor Lastra

   3    does.    Okay?   He's got degrees.    And what he's trying to do,

   4    again, is to explain these in words you can understand.             All

   5    right?

   6            Now, if we look at this next requirement, the only after,

   7    Mr. Buether, again, he's made a big deal about this, the words

   8    only after don't appear in the claims.         They don't appear in

   9    the Court's claim constructions.       Well, no kidding.       It

 10     wouldn't be making it more understandable if we used the exact

 11     same words.      But test this.   Is only after in the Court's

 12     claim construction?     Okay?

 13             Here's the Court's claim construction.       I want to draw

 14     you real quick to this piece of the claim, for each of said

 15     plurality of light sources.       See that?    And then we have our

 16     storing limitation.     Okay?     So we store in Mr. Randel's method

 17     for each light source, that's the accumulation.           Lights 1

 18     through 10, we clump them together.        That's this step, the

 19     storing step.     And then.   See that?    So after we've clumped it

 20     all together, and then we combine.        Okay?

 21             But the Court didn't want there to be any ambiguity as to

 22     this order, you know, just leave it to and then because we

 23     would hear a bunch of arguments about what and then means.               So

 24     the Court comes and says, I'm going to give a construction for

 25     this order requirement.       And the Court's construction is that

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   1    the comparing--that's this one--and the storing--that's this

   2    one--for each light source are completed--come back up here

   3    now--they are completed before beginning the combining step.

   4          Now, plain English, if comparing and storing are

   5    completed before beginning combining, that is exactly the same

   6    thing as saying that you can combine only after you've

   7    completed comparing and storing.       That's plain English.

   8          Let's get out of the technology context, and I'll harken

   9    back to -- well let's do baseball again.         Okay?    Got innings

 10     in baseball, and I think, you know, unless there's extra

 11     innings, major leagues at least, you go 1 through 9.            Right?

 12           So let's say that the rule of baseball is that the first

 13     inning needs to be completed before beginning the second

 14     inning.   Does that make sense?      That means I can't do two outs

 15     of the first inning and then go jump ahead and do an out of

 16     the second inning and then come back and finish up a third out

 17     of the first inning.      I have to do them in order.

 18           Another way of saying that is, I get to the second

 19     inning, I can begin the second inning only after I've

 20     completed the first inning.

 21           Doctor Lastra's language is more simple, it's more

 22     understandable, but it's precisely in keeping with the Court's

 23     construction, which is why he offered those opinions.

 24           Mr. Buether also challenges the 'all'.         Does it have to

 25     be all of the light falling on a region?         Well, that's not in

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   1    the claim language, it's not in the Court's constructions, but

   2    is it really there?     Let's look at that.

   3            Again, we're talking here about the storing limitation

   4    primarily and also the comparing limitation.          You have to do

   5    that for each light source, and then begin your combining.

   6    Okay?    So for each light source, I have to do this.          That's

   7    all of them.     Each is all where I come from.       I think that's

   8    consistent here.     Each is still all?

   9            So now we ask the question, when the Court's construction

 10     says the comparing and storing steps, that's referring to

 11     these that include each light source.          That's all of them.       So

 12     when we do the comparing and storing steps, is that all of it?

 13     Of course it is.     That's what the claim language tells us, and

 14     common sense tells us that, too.

 15             When I was in -- this is 16 now.       I'm taking a trip down

 16     memory lane with you guys.        When I was 16, I worked at this

 17     farm and feed store.       Do you-all know what that is?       You get

 18     your dog food, get your horse food, get your fences, get

 19     gates, whatever you need to run on your farm.

 20             And during the day, as I was there, I was, you know, what

 21     I'd call a peon.     Right?   The owner, who also worked in this

 22     small -- it was a small shop, but he would have a customer

 23     come in, they'd order 20 bags of feed, and he'd say, the boy

 24     will help you.     Okay?   Load it into your car, load it into

 25     your truck.      I was the boy.   I was loading the feed.       I was

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   1    wrangling fences into the back of pickup trucks, sweeping,

   2    whatever.

   3          But at the end of the day, the owner would come up to me

   4    and he would say almost always the same words, but he would

   5    call me Mr. Buresh.       I was, like, what's going on?         He's kind

   6    of a stern man.      He says, "Mr. Buresh."       It got my attention.

   7          He says, "I need you to go up to the cashier and get the

   8    receipts."       That's the money that's come in for the day.          "You

   9    need to take the receipts and deposit them in the bank on your

 10     way home."       He was calling me Mr. Buresh because it was a

 11     serious deal and he wanted me to take it and do it like a man

 12     responsibly.      Okay?   And I did.   You know, I was very diligent

 13     about getting it to the bank prompt, I went straight there, I

 14     went to the deposit window, and I made the deposit.

 15           Now, what if, instead of doing that, I went up to the

 16     deposit window, and I said, there's probably $500 in this bag.

 17     I could use 50 of it for the weekend.           And, by the way, the

 18     store owner, he only said deposit the money.            He didn't say

 19     all the money.      He just said, the money.

 20           Now, if I took 50 bucks out of that bag because the owner

 21     said the money instead of all money, I'd be stealing from him.

 22     Right?   Because when you say deposit the money, you mean all

 23     of it.   That's plain English.       It's common sense.

 24           And it's in the claim language.           Doctor Lastra's analysis

 25     that he provided, precisely correct.

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   1          So that's the Sony witnesses, one after another:           We

   2    don't do it.     We don't use Mr. Randel's method.

   3          Mr. Hastings, as we heard from Mr. Buether this morning,

   4    he admitted, Mr. Hastings did, he admitted that Sony evaluates

   5    the light falling on a surface.       I mean, you might want to

   6    write that down.     We could pack up our bags and go home.

   7    We've admitted infringement according to Mr. Buether.

   8          Or possibly it's what we call a straw man.          Are you

   9    familiar with that concept?       A straw man in my profession,

 10     it's -- it actually didn't come from my profession.            This is,

 11     as far as I know, tracks back to the Old West days when they'd

 12     have the miracle oil guys, the snake oil salesmen that would

 13     go around in their wagons and try to persuade people to buy

 14     oil that had no use whatsoever.       And a lot of times the town

 15     folks would get upset, and somebody would challenge him, like,

 16     this stuff isn't working, it's not doing anything.

 17           So the salesman with his big personality would pick

 18     somebody and go after them to try to get the support of the

 19     townspeople.     A tactic that he would use is called the straw

 20     man tactic.      And that is this, like, if I'm in an argument

 21     with somebody, I don't know, just whatever argument we're

 22     talking about, and I look at them and people are listening to

 23     the argument, okay, and I say, now, sir, you would agree with

 24     me that the sun rises in the east, doesn't it?

 25           He goes, well, of course it does.

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   1            That's it.    You all heard it.    He agreed with me.       We're

   2    done.    I win.

   3            That's a straw man.    The basic premise is it's a fact

   4    that has nothing to do with anything, it doesn't matter for a

   5    hill of beans, everybody agrees to it, and the straw man

   6    tactic is to take that nothing fact and turn it into a win.

   7    Okay?    That's the game.

   8            Now, here's the thing.     Do we evaluate light falling on

   9    the surface?      Of course we do.    How else would we ever be able

 10     to find your perspective and your perspective?            The question

 11     is not whether we evaluate light that hits the surface.              The

 12     question is whether we accumulate it.           And we never accumulate

 13     light falling on a surface.        We don't care about that.        It's a

 14     step in the calculation.

 15             You remember my opening where I stood here over my right

 16     shoulder with this can light and said, we've got to know where

 17     the light's coming from so we can figure out where the light's

 18     going to.    Remember that?     We have to evaluate the light

 19     source falling on the surface so we can figure out where it's

 20     going to.

 21             Now, I'm plainly not the best lawyer in the world.           I'm

 22     not even probably among the category of good ones.             There's

 23     lots better.      But I would say this.     I don't admit

 24     infringement in an opening statement.           I'm confident I didn't

 25     do that.    And so when we all admit, when Mr. Hastings admits,

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   1    when I admit, when Doctor Lastra admits that Sony looks at the

   2    light falling on the surface as part of its calculation, that

   3    doesn't have anything more to do with this case than the fact

   4    that the sunrises in the east.       It's just a fact that

   5    everybody agrees to.

   6            Now, I want to look at the other side of the coin.           We

   7    talked about Mr. Hastings and Mr. Hobson, Doctor Lastra.              I

   8    contend that those are chunks of evidence on the side of

   9    Sony's scale when you're doing your weighing.           I think their

 10     testimony supplies you with credible evidence.            Okay?

 11             Now let's talk about the other side of the scale.           I'm

 12     going to start with Mr. Will Perry sitting right in front of

 13     you here.    He testified that despite being good business

 14     partners with Sony, the fact that no notice was given to Sony,

 15     the fact that they, you know, when asked didn't even tell us

 16     about their patents, that that's a fair way to treat a good

 17     business partner.      Okay?   He came in here and he said that.

 18     It's up to you.     It doesn't matter much whether it's fair or

 19     not.    Here we are.   But that's his testimony.

 20             Now, he also testified that what were they doing?           What

 21     was Infernal games about?      Well, it's a monetization program.

 22     Monetization equals a money program.           That's what Infernal

 23     Technology is about.      Mr. Perry said he was an investor.

 24     Okay?    It's fine.    It's fine.   But we all know that you can

 25     make bad investments.      It's just part of life.        You can make

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   1    bad investments.

   2            Mr. Perry, beyond that didn't say anything that matters

   3    for a hill of beans.       Not even an ounce of evidence can be

   4    placed on any scale because of his testimony.           All right?

   5            We come to Mr. Randel, who's also in front of you just

   6    left from Mr. Perry.       He is the inventor on these patents.

   7            This doesn't happen in every case, but it happened in

   8    this case.       You recall when Ms. Marriott was cross examining

   9    the inventor, she asked him, "Sir, do you disagree with the

 10     statement that you gave under oath in 2016?"           That was a

 11     deposition a few years ago that he gave.

 12             So let me set the context for this, and you've heard this

 13     before but you take a deposition, you come in, just like you

 14     do in court, and you raise your right hand and you swear an

 15     oath to tell the truth.       Okay?   And he did.     He did that.        And

 16     then he comes into court here and he raises his right hand and

 17     he swears to tell the truth.        He gets on the stand, and under

 18     cross examination, we say, Hey, something sounds a little bit

 19     off here.      You testified back several years ago to a certain

 20     fact.    You testified to it, and now you're saying something

 21     different.       So back in 2016 did you say that?

 22             Yes.

 23             But even more so, now, instead of backtracking on the

 24     stand or whatever, he just doubles down and says, "Do you

 25     disagree with the statement you gave under oath in 2016?"

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   1            "Yes."

   2            In our profession we call that impeachment.         Okay?    It's

   3    when you have a witnesses that 180 degrees contradicts

   4    himself.    And you-all need to ask yourselves why that happens.

   5    Like in the human experience, why does somebody swear one

   6    thing one time and swear another thing another.            Okay?

   7            In life we oftentimes pursue goals, and if our goal is

   8    monetization, if our goal is money, we get focused on that

   9    goal.    Right?    We become focused, we become motivated by it to

 10     the point where we are willing to do things that even hurt our

 11     own reputation sometimes.       You know, it's not good, it's not

 12     right, but it happens.

 13             And when you contradict yourself under oath twice and

 14     just openly swear, Yes, I'm going back on my word, that's

 15     damage to your reputation.       And that's what we've seen from

 16     Mr. Randel in this case.

 17             We've also heard Mr. Randel come to the stand and

 18     testify, and I think it went on for over an hour, about

 19     polygons and rendering.       And I didn't really understand a lot

 20     of it, but it was an hour plus of going through his patents.

 21     Then again on cross examination by Ms. Marriott, what we hear

 22     is that he's often confused about what his patents even cover.

 23     Okay?    That's weird.     This is the person that, you know,

 24     invented the technology, he prepared his patent applications,

 25     he went to the trouble of filing his patent applications, and

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   1    then he's confused about what they cover.          That doesn't seem

   2    right.   He admits to being wrong about what his patents cover.

   3    That's got to go in the bucket to assess does this smell

   4    right.   When I'm applying my common sense, does this smell

   5    right.

   6          He also admitted, as I said he would in opening, that he

   7    hasn't used his patented invention since 2000; that he stopped

   8    using it just a year after he filed his patents.            Now,

   9    Mr. Buether tells you to just ignore that fact.            'I hope you

 10     ignore it' were his words.       Well, why in the world would you

 11     ignore that fact?      We're talking about the credibility of the

 12     case here.       Again, what the Plaintiffs are shoveling in your

 13     direction, what they are asking you to believe is that Sony in

 14     2018 went back over 20 years to pick up a technology that

 15     Mr. Randel on the screen in front of you admits that he

 16     stopped using.      That's a hard story to swallow.        And no, don't

 17     ignore that story; factor it into your credibility of

 18     Plaintiffs' case of Mr. Randel's testimony.

 19           Now, Doctor Lastra, he can't do that.          When he's on the

 20     stand he's testifying as an expert.         Right?    He's giving you

 21     facts.   He's giving you evidence.       He doesn't consider things

 22     like this.       You do.   That's the role of the jury to weigh

 23     credibility, not Doctor Lastra.        So when Mr. Buether cross

 24     examines him and says, You didn't consider the fact that this

 25     happened in 2000, Doctor Lastra's perfectly right to say, No,

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   1    I did not; that's not my analysis.        I'm giving them facts

   2    about the infringement case.       That's your guys' analysis to

   3    consider these type of facts.        That's what you do.

   4          And one last thing.     You'll see in the instructions on

   5    credibility that a witness' memory is relevant to their

   6    credibility.     You remember seeing Mr. Heptig, the gray-haired

   7    gentleman two rows back?      You got a four-minute clip by him in

   8    our case by deposition.      Okay?   Do you remember that clip?

   9    This is what he said.      Again, Mr. Randel's confusion they are

 10     trying to brush away.      Well, Mr. Randel has a bad memory.            So

 11     that's his team saying he has a bad memory.          So factor all

 12     those things in when you're considering Mr. Randel's testimony

 13     and how much weight to give it.

 14           Again, I contend that it's not an ounce of weight in the

 15     Plaintiffs' favor.     It's not credible.      It just doesn't smell

 16     right.

 17           Finally I want to talk about Doctor Hart for just a few

 18     minutes.    Doctor Hart is the witness -- I don't see hem here

 19     in the courtroom today, but he's the witness with the detailed

 20     infringement analysis.      Do you remember the leaning tower of

 21     Pisa that I built as I was cross examining him?           That was his

 22     detailed infringement analysis, all those addenda that we were

 23     talking about, and he didn't write a word of it; didn't do an

 24     ounce of the preparation of that detailed infringement

 25     analysis.    He adopted it without a single substantive change

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   1    from Mr. Buether.     6,000 pages plus of analysis from

   2    Mr. Buether; didn't even bother to take the Buether law firm

   3    logo off the front page of his analysis.          It shouldn't be

   4    surprising, then, that when Doctor Hart does his analysis, he

   5    starts citing to source code that's not active.            Okay?

   6          Now, Mr. Buether tries to back away from that error, that

   7    mistake that they made by saying, Well, Sony didn't show you

   8    the source code.     Well, Mr. Hastings told you straight up that

   9    that source code is not active.       Do you believe him?

 10           Now,        Mr. Hart, who again -- sorry.        Mr. Hart's not

 11     here, but he took the stand in rebuttal case just yesterday

 12     afternoon and he could have corrected it if that was in the

 13     source code; hey, doesn't take but five minutes to show us how

 14     that works and make sure that the mistake was not made.              He

 15     didn't do anything.

 16           We told you what the truth was.          He made a mistake and

 17     it's not surprising that he made a mistake because he didn't

 18     do the work.     He took it from Mr. Buether.        He took a

 19     shortcut.    The technical expert did not do his own work, so

 20     you need to weigh that in terms of credibility when you

 21     consider Doctor Hart.

 22           Doctor Hart is also the witness who stood in front of you

 23     and said this PlayStation Vita infringes.          Now, that's not in

 24     the case anymore, they've moved that out of the case, but that

 25     doesn't let Doctor Hart off the hook.          Okay?   Because, again,

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   1    he stood up in court, raised his right hand, swore to tell the

   2    truth, the whole truth, and nothing but the truth, got on that

   3    stand and said that the PlayStation Vita infringes because the

   4    hardware in this handheld device is the same hardware in this

   5    PS4.   That was his testimony.      Remember that?     I held them

   6    both up and he said, Yes, they're the same.          This thing must

   7    be pretty empty if it has the same hardware as this one.

   8    That's the kind of thing that goes to credibility.            It's just

   9    not believable.

 10            And secondarily, the fact that he would testify to that,

 11     even though it's now withdrawn, but that he would testify to

 12     that, it tells you where his testimony is coming from.             It

 13     tells you about the man.      He'll say what Mr. Buether tells him

 14     to say when he tells him to say it.        That's Doctor Hart.

 15            Finally, you saw yesterday that Doctor Hart tried to give

 16     you a construction, an understanding that was contrary to the

 17     Court's construction.      You don't do that in a case unless --

 18     I'll let you figure that out.       You don't do that in a case

 19     unless you are in a desperate situation.         Okay?    It just

 20     doesn't happen.     But to have him do that, what we saw

 21     yesterday, and then to say that it's Doctor Lastra who's not

 22     applying the Court's claim construction faithfully, that's

 23     humorous.

 24            So weigh the evidence.     As you look at the scales, I

 25     contend that the evidence on the Plaintiffs' side, Doctor Hart

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   1    Mr. Randel, Mr. Perry, that evidence don't smell right.              Okay?

   2    I contend there's not an ounce of credible evidence on the

   3    Plaintiffs' side of the scale.       And I'll back away.        It's your

   4    guys' job; I'm just giving my opinion that's what I saw, but

   5    it's your eyes that count.      But I'd ask you to do that

   6    weighing, assess that credibility.

   7           Now, there's one other question that we've addressed in

   8    this case, the whole well-known, routine, and conventional

   9    stuff.    There's a question that you're going to be presented

 10     with, and this is Question 2 on your verdict form.             Okay?      I

 11     want to be very clear about what we're asking you here.              This

 12     reads that the asserted claims only involve technologies and

 13     activities that were well-understood, routine, and

 14     conventional from the perspective of a person of ordinary

 15     skill in the art as of March 12th, 1999.          That's the question.

 16            Now, we are not saying -- let me be clear about what we

 17     are not saying.     We are not saying that Mr. Randel didn't

 18     invent his method.     Okay?   We're not saying somebody did it

 19     before.   That's not what we're saying.         In fact, I will tell

 20     you openly, I don't know of anybody who did his method before

 21     him.   I don't know of anybody who did his method after him.                  I

 22     don't think anybody else did his method.          In fact, I think

 23     Mr. Randel stopped doing his method.           Okay?   What this

 24     question is asking you is, is the activities involved in his

 25     method routine and conventional.       That's the question; not did

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   1    somebody do it before.      We're not showing you documents to

   2    prove somebody did it before; just is it routine and

   3    conventional.

   4          Here's the thing.     Doctor Hart, that providing lighting

   5    data, providing observer data, and then that comparing step

   6    which was called shadow mapping, Doctor Hart agreed with me.

   7    That is all known since the '70s.       Okay?    Those first three

   8    pieces of the claim.

   9          The last two pieces of claim, the storing limitation and

 10     the combining that we've talked predominately about in this

 11     case is just mathematics.      Okay?   You got to add the light

 12     falling on the region.      That's plus, plus, plus.       And then you

 13     got to combine.     That was multiplication.      Take what you've

 14     clumped together and multiply it by some information about

 15     your perspective.     So addition, followed by multiplication.

 16     That's our point.     That's all we're saying.       Computers have

 17     been doing addition and multiplication since the first

 18     computer.    That's what they do.      Nothing about those

 19     activities are anything but routine and conventional.

 20           And by the way, on that question, you didn't hear Doctor

 21     Hart in the rebuttal case, which is where he was supposed to

 22     address that, didn't say a word about it.         It's just

 23     mathematics.     That's our point on Question No. 2.

 24           But I will tell you that while that question is

 25     important, it's this question that matters to Mr. Hastings and

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   1    Mr. Hobson.      They came here, as I told you at the start,

   2    because they've been wrongly accused.          They did not take

   3    Mr. Randel's technology from 20 years ago.          They just didn't

   4    do it.   And they came here; they told you that.

   5          We've presented our case.      This is the time for justice.

   6    This is the time to vindicate them and clear their names.

   7    This is the important thing to Mr. Hastings and Mr. Hobson.

   8    And you will vindicate them.       You will clear their names by

   9    answering 'no' to Question 1 about infringement; 'no' straight

 10     down the line, because they didn't do it.         As I told you at

 11     the start, that's what we're asking for, that's the important

 12     question, and I'd ask you to check 'no' as you've completed

 13     your deliberations.

 14                 THE COURT:    Your time is expired, counsel.

 15                 MR. BURESH:    Thank you.

 16                 THE COURT:    Mr. Buether, you may now present

 17     Plaintiffs' final closing argument.        You have 8 minutes and 23

 18     seconds remaining.     As you've requested, I'll warn you when

 19     you have two minutes left.

 20                 MR. BUETHER:    Thank you, Your Honor.

 21                 THE COURT:    Please proceed.

 22                 MR. BUETHER:    Well, let's see.      What has Sony's

 23     counsel accused Mr. Randel of being and the whole team that

 24     have represented him in this case?        Making stuff up,

 25     presenting straw man arguments, lacking credibility.

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   1    According to Sony, Doctor Hart will say anything I tell him.

   2    Didn't strike me as that kind of a fellow, but that's what

   3    they're telling you.      Mr. Randel's a liar, not credible at

   4    all, nothing we've presented is credible.

   5          I agree with Mr. Buresh on one thing.         I'll let you apply

   6    your common sense and good judgment to make the determination

   7    about whether any of that is true.

   8          But the bottom line here is that Mr. Randel made a

   9    bargain with the government 20 years ago and said, I'll

 10     disclose what I consider to be an invention, which Sony now

 11     doesn't question it's an invention, and you'll -- I'll

 12     disclose this to the public, and in 20 years it's the public's

 13     and I have no right to stop anybody from using it; but within

 14     that 20-year period, I get to stop others from using it

 15     without my permission.      It's wrong for somebody to use it

 16     without my permission.      And all we are asking you today is to

 17     make sure that Sony honors its bargain not to violate the law.

 18           And so it reminds me of the story I heard one time about

 19     an old man and a little kid, smart aleck kid, kind of thought,

 20     I'll play a joke on the old man.       I'll capture a bird.        And

 21     I'll walk up to the old man and I'll hold the bird in my hand

 22     and ask him if the bird is alive or is it dead.           And if the

 23     old man says it's dead, I'll open my hand and let the bird fly

 24     away and I'll prove him wrong; and if he says it's alive, I'll

 25     crush that bird and prove him wrong anyway.

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   1          And so I would submit that Mr. Randel's kind of like that

   2    bird, and you're the jury that has him and his hopes and

   3    aspirations in your hand.      And so when you go to retire to

   4    deliberate, we ask you to treat him fairly, as well as Sony,

   5    and do the right thing.

   6          And with that, I thank you and hope you do the right

   7    thing.   Thank you very much.

   8                 THE COURT:   All right, ladies and gentlemen, I'd now

   9    like to provide you with a few final instructions before you

 10     begin your deliberations.      You must perform your duty as

 11     jurors without bias or prejudice as to any party.           The law

 12     does not permit you to be controlled by sympathy, prejudice,

 13     or public opinion.     All parties expect that you will carefully

 14     and impartially consider all the evidence, follow the law as I

 15     have given it to you, and reach a just verdict, regardless of

 16     the consequences.

 17           Answer each question in the verdict form based on the

 18     facts as you find them to be, following the instructions that

 19     the Court has given you on the law.        Again, do not decide who

 20     you think should win and then answer the questions accordingly

 21     to reach that result.      I remind you once more, your answers to

 22     those questions and your verdict in this case must be

 23     unanimous.

 24           You should consider and decide this case as a dispute

 25     between persons of equal standing in the community, of equal

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   1    worth, and holding the same or similar stations in life.             This

   2    is true in patent cases between corporations, partnerships,

   3    business entities, and even individuals.         A patent owner is

   4    entitled to protect his rights under the laws of the United

   5    States, and this includes bringing a suit in a United States

   6    District Court for infringement.       The law recognizes no

   7    distinction among types of parties.        All corporations,

   8    partnerships, other business organizations, and individuals

   9    stand equal before the law, regardless of their size,

 10     regardless of who owns them, and they are to be treated as

 11     equals.

 12           Now, when you retire to the jury room to deliberate on

 13     your verdict, as I've told you, you are each going to have a

 14     written copy of these final jury instructions to take with you

 15     that I'm giving you orally now.       If during your deliberations

 16     you desire to review any of the exhibits which the Court has

 17     admitted into evidence over the course of the trial, you

 18     should advise me by a written note delivered to the Court

 19     Security Officer and signed by your foreperson.           I'll then

 20     send you that exhibit or those exhibits.

 21           Also, once you retire, you should first select your

 22     foreperson and then conduct your deliberations.           And if you

 23     recess during your deliberations for any reason, follow all

 24     the instructions the Court's given you about your conduct

 25     during the trial.

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   1          After you have reached a unanimous verdict, your

   2    foreperson is to fill in those unanimous answers to the

   3    questions in the verdict form reflecting your unanimous

   4    decision.    You should not reveal your answers until such time

   5    as you're discharged by me or unless I direct you otherwise,

   6    and you must never disclose to anyone, not even to me, your

   7    numerical division on any question.

   8          Any notes that you've taken over the course of the trial

   9    are aids to your memory only.       If your memory should differ

 10     from your notes, then you should rely on your memory and not

 11     your notes.      The notes are not evidence, ladies and gentlemen,

 12     and a juror who has not taken notes should rely on his or her

 13     own independent recollection of the evidence produced during

 14     the course of the trial and not be unduly influenced by the

 15     notes of other jurors.      Notes are not entitled to any greater

 16     weight than the recollection or impression of each juror about

 17     the testimony.

 18           If during your deliberations you want to communicate with

 19     me at any time, you should give a written message or question

 20     to the Court Security Officer written and signed by your jury

 21     foreperson.      The Court Security Officer will then bring it to

 22     me and I will respond as promptly as possible either in

 23     writing or by having you brought back into the courtroom where

 24     I can address you orally.      I will always first disclose to the

 25     attorneys in the case your question and my intended response

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   1    before I answer your question.

   2          Now, after you have reached a unanimous verdict and I

   3    have accepted that verdict and discharged you from your

   4    position as jurors in this case, I remind you, you're not

   5    required to talk with anyone about your service in this case,

   6    but at that point when I've discharged you as jurors, by the

   7    same token, you will be completely free to discuss your

   8    service in this case with anyone of your choosing.            That

   9    choice at that time, ladies and gentlemen, will be up to you;

 10     100 percent your choice.

 11           I'm now going to hand eight printed copies of these final

 12     jury instructions and one clean copy of the verdict form to

 13     the Court Security Officer who will deliver them to you in the

 14     jury room.

 15           Ladies and gentlemen, you may now retire to the jury room

 16     to deliberate upon your verdict.       We await your verdict.

 17                  (Whereupon, the jury left the courtroom.)

 18                  THE COURT:   Counsel, you are welcome to wait here in

 19     the courtroom.     If you elect to wait outside the courthouse,

 20     make sure before you leave the courtroom that my clerks have a

 21     good working cell phone number for a representative of both

 22     Plaintiffs' trial team and Defendant's trial team so that upon

 23     receipt of a note or return of a verdict we can get you back

 24     here shortly.

 25           Awaiting either a note from the jury or a return of their

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   1    unanimous verdict, the Court stands in recess.

   2                             (Jury deliberates.)

   3                       THE COURT:   Be seated, please.

   4          Counsel, I've received the following note from the jury:

   5    "We, the jury, have reached a verdict."         And I'm told it's

   6    signed by Juror No. 3 Mr. Reeher who is the apparent

   7    foreperson of the jury.

   8          I'll hand the original note to the courtroom deputy to be

   9    included in the papers of this case.

 10           Let me remind all present that the Court will not expect

 11     any outward reactions to whatever the verdict is.

 12           Let's bring in the jury, please, Mr. Latham.

 13                 (Whereupon, the jury entered the courtroom.)

 14                 THE COURT:    Please be seated.

 15           Mr. Reeher, I understand that you are the foreperson of

 16     the jury.    Is that correct?

 17                 THE PRESIDING OFFICER:     Yes, sir.

 18                 THE COURT:    Has the jury reached a verdict?

 19                 THE PRESIDING OFFICER:     Yes, sir.

 20                 THE COURT:    Would you hand the completed and signed

 21     verdict form to the Court Security Officer who will bring it

 22     to me?

 23           Ladies and gentlemen of the jury, I am going to announce

 24     the verdict into the record at this time, and I'm going to ask

 25     each member of the jury to listen particularly closely as I do

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   1    that because after I've announced the verdict into the record,

   2    I'm going to poll the jury to make sure that this is, in fact,

   3    the unanimous verdict of all eight members of the jury.

   4          Turning to the verdict form and turning to page 4 of the

   5    verdict form where Question 1 is found, "Do you find that

   6    Plaintiffs have proven by a preponderance of the evidence that

   7    SIE, the Defendant, has infringed any of the following

   8    asserted claims of the Patents-in-Suit as indicated below?

   9          "Answer 'yes' or 'no' for each accused product as to each

 10     asserted claim."

 11           As to claim 1 of the '822 Patent and the Spider-Man

 12     accused products, the jury's answer is no.

 13           As to the God of War accused products regarding claim 1

 14     of the '822 Patent, the jury's answer is no.

 15           As to claim 1 of the '488 Patent regarding the Spider-Man

 16     accused products, the answer is no.

 17           As to the God of War accused products relating to claim 1

 18     of the '488 Patent, the jury's answer is no.

 19           As to the Spider-Man accused products regarding claim 27

 20     of the '488 patent, the jury's answer is no.

 21           As to the God of War accused products regarding claim 27

 22     of the '488 Patent, the jury's answer is no.

 23           As to the PlayStation 3 products regarding claim 50 of

 24     the '488 Patent, the jury's answer is no.

 25           And as to the PlayStation 4 products regarding claim 50

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   1    of the '488 Patent, the jury's answer is no.

   2           Turning to Question 2 on page 5, "Did Defendant SIE prove

   3    by clear and convincing evidence that the asserted claims

   4    involve only technologies and activities that were

   5    well-understood, routine, and conventional from the

   6    perspective of a person of ordinary skill in the art as of

   7    March the 12th, 1999?"

   8           For claim 1 of the '822 Patent, the jury's answer is yes.

   9           As to claim 1 of the '488 Patent, the jury's answer is

 10     yes.

 11            As to claim 27 of the '488 Patent, the jury's answer is

 12     yes.

 13            And as to claim 50 of the '488 Patent, the jury's answer

 14     is yes.

 15            Turning, then, to the next page, being page 6, which is

 16     the final page of the verdict form, I note for the record that

 17     it is dated today's date, October the 7th, 2021, and it is

 18     signed by Mr. Reeher as the foreperson of the jury.

 19            Ladies and gentlemen of the jury, let me poll you to make

 20     sure that this verdict, as I have announced it into the

 21     record, reflects the unanimous decision of all eight members

 22     of the jury.

 23            If this is your verdict as I have read it, would you

 24     please stand up?     Thank you.    Please be seated.

 25            Let the record reflect that all eight members of the jury

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   1    immediately rose and stood in response to the Court's question

   2    to poll the jury.

   3          I find, based on that, that this is the unanimous verdict

   4    of all eight members of the jury, and I will deliver the

   5    original verdict form to the courtroom deputy.

   6          Ladies and gentlemen, this now completes the trial of

   7    this case.       From the very beginning I've instructed you time

   8    and time again about not discussing this case with anyone.

   9    I'm now releasing you from that obligation and from all the

 10     obligations and instructions that I have given you about your

 11     conduct as jurors in this case.        I am discharging you as

 12     jurors in this case.       That means you are free to talk with

 13     anyone you'd like to about your service in this case.             It also

 14     means that you are free not to talk to anyone about your

 15     service in this case.       The decision is yours and yours alone.

 16           I will tell you that the practice in this court has been

 17     for decades, it was well-established when I got here out of

 18     law school a long time ago, that when a jury returns a verdict

 19     in this court, the lawyers and the parties in the case are not

 20     permitted to approach you and to initiate a conversation about

 21     your service.      However, if you should choose to initiate a

 22     conversation with anyone related to any of the parties or the

 23     sides in this case, you are free to do that, but it's your

 24     decision, not theirs.

 25           Historically, that has meant that the lawyers typically

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   1    find a way to get to the front steps of the courthouse before

   2    you leave, and as you walk down the front steps they happen to

   3    be there in hopes that you will decide to stop and talk to

   4    them.    If that's what you'd like to do, feel free to stop and

   5    talk as long as you'd like.       If you would not prefer to do

   6    that, then, equally, just smile and walk by.          They are not

   7    going to engage you in a conversation unless you start it.

   8    That's the way it's always worked here and I expect that's the

   9    way it will work this time.

 10             I will let you know, I have added one little addition to

 11     that practice in the last several years, and that is I'm going

 12     to furnish to you in a few minutes a slip of paper, if you

 13     want it, that has a representative's cell phone number on it

 14     for somebody from the Plaintiffs' trial team and somebody from

 15     the Defendant's trial team, and if you'd like to take that

 16     with you, you are welcome to; if you don't want to take it

 17     with you, you don't have to.

 18             If you take it with you and you decide tomorrow, next

 19     week, next month, whenever, you'd like to have a conversation

 20     with one side or the other side or both, dial that cell phone

 21     number.    I promise you they'll be interested; they'll like to

 22     hear what you have to say.      But they won't call you.        They

 23     won't initiate a conversation.       It's up to you.

 24             But to make it so that you don't feel like you have to

 25     either speak now or forever hold your peace when you walk down

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   1    the front steps of the courthouse, you'll be able to take a

   2    cell phone number for each side with you, if you'd like, and

   3    if in your own discretion at a later time if you'd like to

   4    call and discuss your experience on this jury with either or

   5    both sides, you'll be free to do that.         But again, ladies and

   6    gentlemen, let me stress to you that it's 100 percent your

   7    decision and nobody is going to contact you that you don't

   8    choose to initiate the conversation with first.

   9          Also, ladies and gentlemen, I want you to know how much

 10     the Court appreciates your service in this case, and I speak

 11     for everybody in this room when I say that.          We all understand

 12     that our system of justice, including the constitutionally

 13     guaranteed right of a trial by jury in a civil case, rests on

 14     the ability of ordinary citizens to make themselves available

 15     to present themselves for service and to undergo the

 16     unavoidable sacrifices that it takes to serve as a juror in a

 17     case like this.     Everybody in this room outside the jury box

 18     recognizes that and appreciates that and values that, and I

 19     can't stress that enough.

 20           I'd like to ask you to do me a personal favor.           In a

 21     moment I'm going to excuse you from the jury box, and when

 22     that happens, if you would, I'd like you to go back in the

 23     jury room and let me come down off the bench and meet you in

 24     the jury room.     I'd like to look each one of you in the eye

 25     and I'd like to tell you to your face how much the Court

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   1    appreciates your service.      I have a letter of appreciation and

   2    a certificate from the Court of appreciation regarding your

   3    service I'd like to give to each one of you.

   4           I will not keep you, but if you would do me that honor, I

   5    promise to take just a minute or two of your time, but I'd

   6    like to thank you in person because, quite honestly, in my

   7    opinion, what you have done warrants that, and the Court would

   8    be remiss if it did not do more than just simply say thank

   9    you.

 10            So if you're willing to do that and if you will afford me

 11     that privilege, and I consider it a privilege, I will meet you

 12     in the jury room in just a moment, and I will give you those

 13     letters and certificates and thank you personally.

 14            As I noted, you are discharged as jurors in this case,

 15     the Court accepts your verdict, and that completes the trial

 16     of this case, and you're excused to the jury room.

 17                 (The proceedings were concluded at 2:04 p.m.)

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   1                           I HEREBY CERTIFY THAT THE FOREGOING IS A

   2                           CORRECT TRANSCRIPT FROM THE RECORD OF

   3                           PROCEEDINGS IN THE ABOVE-ENTITLED MATTER.

   4                           I FURTHER CERTIFY THAT THE TRANSCRIPT FEES

   5                           FORMAT COMPLY WITH THOSE PRESCRIBED BY THE

   6                           COURT AND THE JUDICIAL CONFERENCE OF THE

   7                           UNITED STATES.

   8

   9                           S/Shawn McRoberts                    10/07/2021

 10                            __________________________DATE____________
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 11                            FEDERAL OFFICIAL COURT REPORTER

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                          Federal Official Court Reporter
